 

Case 1:15-md-02606-RBK-JS Document 128-7 Filed 09/18/15 Page 1 of 115 PagelD: 3953

Exhibit F
 

 

 

 

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SUPERIOR COURT OF NEW JERSEY
ATLANTIC COUNTY/CIVIL DIVISION
DOCKET NO. ATL-L-504-14
SHELLY RAHMAN and ABU RAHMAN, >: STENOGRAPHIC
wife and husband, : TRANSCRIPT OF:
Plaintiffs,

Vv. : ~ CASE MANAGEMENT
CONFERENCE ~
DATICHT SANKYO, INC., ET AL.,
Defendants.

PLACE: ATLANTIC COUNTY COURTHOUSE
120] Bacharach Boulevard
Atlantic City, New Jersey

DATE: May 8, 2015 at 10:00 a.m.

BE FOR E:
THE HONORABLE NELSON C. JOHNSON, JSC

TRANSCRIPT ORDERED BY:
ADAM M. SLATER, ESQUIRE
Mazie Slater Katz & Freeman, LLC

SUSAN M. SHARKO, ESQUIRE
Drinker Biddle & Reath, LLP

ANN MARIE MITCHELL, CCR, RDR, CRR
GOLKOW TECHNOLOGIES, INC.
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deps@golkow.com

 

 

 

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1 APPEARANCES FOR THER PLAINTIFFS:

3 ADAM M. SLATER, ESQUERE

Mazie Slater Katz & Freeman, LLC

om

RAYNA E. KESSLER, ESQUIRE
6 MUNIR R. MEGHJBE, ESQUIRE
Robins Kaplan LLP

9g APPEARANCES FOR THE DEFENDANTS:

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Lid SUSAN M. SHARKO, ESQUIRE
DANTEL B. CARROLL, ESQUIRE

12 Drinker Biddle & Reath, LLP

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THE COURT: Good morning. Please be
seated. How is everybody doing?

This 1s Atwell and others versus Daiichi
Sankyo. And we'll just use one docket number,
ATL-3108-14.

Counsel, please enter your appearances.

MS. KESSLER: Good morning, Your Honor.
Rayna Kessler from Robins Kaplan.

THE COURT: Good morning.

MS. KESSLER: Good morning. Here for the
plaintiffs.

MR. MEGHJEE: Good morning, Your Honor.
Munir Meghjee from Robins Kaplan.

THE COURT: Good morning.

MR. SLATER: Good morning, Judge. Adam
Slater for plaintiffs.

THE COURT: Good morning.

MS. SHARKO: Susan Sharko from Drinker
Biddle for the defense.

THE COURT: Good morning.

MR. CARROLL: Good morning, Your Honor.
Daniel B. Carroll, Drinker Biddle & Reath, for the
defendants.

THE COURT: Good morning.

 

 

 

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Let's talk about Science Day briefly.

We agreed it's going to be an hour each.

MS. SHARKO: Yes, Sir.

THR COURT: Okay, good. All right.
Because the last time I did something like this, I
thought we agreed an hour each and somebody else
decided it was going to be like an hour-and-a-half
each. It sort of messed up everybody's schedule.
Because Judge Kugler and I spoke a couple weeks ago,
and he was very enthusiastic about the idea of having a
Science Day and said he didn't see the point of having
a second Science Day. So he said if he wasn't on the
bench today, he would come down. And as o, I think
yesterday, they're still on schedule to be here at
1:00. So we'll hopefully be done long before then. I
know he didn't want to do it before noon, so we'll take
a short lunch break or whatever.

But let me just clear the air a moment.

Am I -- before we get to the whole
discussion of the FOIA documents and whether or not
they're entitled to a protective order, in looking at
the pleadings, can I assume that each of you is
prepared to provide, looking at the defendants'

response to request for admissions, IT think it's about

 

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150-plus, within the next 45 days. And the plaintiffs,
with regards to the specialized information as to the
case-specific info needed on the plaintiffs, you're
prepared to do likewise as to the plaintiffs. Am TI
correct?

{ mean, it seems to be what your pleadings
are saying. And on the only note I made in the margin
is, well, you know, why not do it now. But I
understand you need more time to get information from
clients. And probably the same thing on your end.

But generally it appears that you are
agreeable to furnishing the information that's in
dispute. Am I correct?

I always like starting with where we agree
and then go to what we disagree on.

MS. SHARKO: So if you're referring to the
two 45-page letters that Ms. Kessler sent us after we
filed our discovery motion, what we told her when we
got those was we would review them, figure out what we
could provide, what we didn't think we needed to
provide and get that to her by the end of the month,
and we would sit down and meet and confer with them
about all their requests in those two long letters.
And so we're prepared to do that.

MS. KESSLER: Your Honor, we can go into

 

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the specifics of that. These are document requests
that we served last June originally, but --

THE COURT: see, there are times when I go
into the specifics --

MS. KESSLER: | understand.

THE COURT: -- of interrogatories and
requests for production, but, hopefully, I don't have
to do that with you. I mean, what I'd like to do -- I
mean, and there are occasions when you have to do it
one by one by one by one, but I got the impression from
your responsive pleadings, each of you, that we're
going to gather this information and we're going to
give you everything we have and, you know, we're not
avoiding this or we're not ducking our responsibility.

So what I'm hopeful of, unless you can
point to things right now where you know I'm not giving
it to them. Because the only thing I see on the table
where they're saying I’m not giving it to them, you
know, without being compelled to is the FDA
information.

Is that assessment correct?

MS. SHARKO: Your Honor, while we're --

THE COURT: Let her reply to that first.

Go ahead.

MS. KESSLER: We actually submitted a

 

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consent order to the defense last week, and we did copy
the Court, to let you know that in the individual
case-specific deficiencies that they cite in their
two-page letter brief, we are providing all that within
45 days. And that is the wage loss information that we
have still been compiling.

THE COURT: Contact information for the
witnesses in Atwell and Braswell but not the experts.
Information regarding the medical and out-of-pocket
expenses of Douglass and Wallace. And information and
documents supporting Lost wage claims for Knight,
Braswell and Wallace.

MS. KESSLER: Exactly, Your Honor.

THE COURT: You're going to provide Lhose?

MS. KESSLER: Absolutely. And we provided
a consent order to address that.

What we have an issue with, of course, is
that there's a lot more discovery that they're asking
for in their proposed orders that wasn't explained in
their briefs that we're not even sure now we have not
complied when we have provided these responses.

But we can argue that.

THE COURT: Well, is there any reason for
optimism that you can meet and resolve those?

MS. KESSLER: Absolutely, Your Honor. And

 

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we've been talking with the defense this week. We
tried to reach out to them last week. We didn't have

any conversations about it.

But, Your Honor, another solution that we
have proposed to the plaintiffs, and what's happening
in the MDL, I know we'll be giving a status report to
you -~

THE COURT: Proposed to the defendant or
are you talking about your clients?

MS. KESSLER: In the MDL that Judge Kugler
has --

THE COURT: Okay, go ahead.

MS. KESSLER: Judge Kugler is implementing
a plaintiff fact sheet, which I'm sure you're familiar
with from Accutane, as well as a defense fact sheet.
And we think that is an absolutely fair solution to
this, that it's the most efficient way to address which
questions are really relevant to this litigation.

We can work that out. We're willing to
adopt whatever is done in the MDL to apply to this
group of 60 cases as well. And that clears all of the
objections off the table and it clears the Court's time
to have to go through --

THE COURT: I think two weeks ago today I

spent about two hours reviewing individual questions of

 

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the fact sheet. We got it resolved. And: that
really -- [ mean, [I'm not preaching Lo you, because I'm
sure you know this better than { do, out a lot of these

questions can oe resolved by simply agreeing upon
what's the information that you need from everybody and
agree as to what 1t will be.

MS. SHARKO: So here's the problem, Judge.

THE COURT: Go ahead.

MS. SHARKO: The consent order that Ms.
Kessler sent to the Court, without first sending it to
us, addresses some of the interrogatories they haven't
answered. It doesn't address all of them. These

interrogatories have been outstanding in the first

group of cases since last spring. Almost a year we've
been chasing the plaintiffs for the answers. And we
really would like the answers. We don't want to have

to start over from the beginning on discovery.

The two questions that are not in the
consent order that have yet to be answered by Ms.
Kessler in the cases which are the subject of the
motion, and they've been answered by other plaintiffs
in other cases, are tell us your version of the events
and give a detailed description of the injuries you

claim. We want to know what the injuries they claim

 

are. That's a standard, basic question.

 

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THE COURT: 1 think we'll all concede that
the Form C Interrogatories for cases such as this are a
bit obtuse. But I also think what the Supreme Court
had in mind when they promulgated those, that everybody
be reasonable and everybody be cooperative and
everybody get as full an explanation as they can.

At some point -- and I agree with Ms.
Snarko on this, Ms. Kessier, at some point you're going
to have to be able to explain lo us, you know, how the
ingestion of this pill -- and I'm not talking about the
scientific right now. At some point you're going to
have to explain time, circumstances, prescription, the
whole event surrounding this person's illness so it
makes sense to everybody. Right? I mean, if this case
LS going to go to a jury, we have to understand, okay,
they were prescribed the pill on a certain date for a
certain condition by a certain physician, and within a
certain time frame, they develop certain symptoms.
Aren't we going to have to know that for everybody?

MS. KESSLER: Absolutely, Your Honor. And
part of this is that some of the discovery that they're
seeking 1s duplicative. Even though there's that Form
A response that they are moving to compel, there's also
a Question 7 in their supplemental rogs that is exactly

the same Language that we fully answered that they're

 

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nol moving Lo compel except in Braswell.

So we have provided more information in
these discovery responses. But in addition, we also
have provided thousands of pages of medical records
that support these claims. Our clients have signed
medical authorizations, employment authorizations --

THE COURT: And I see this a lot in lots of
different cases. I'm sure they can make the same
criticism of you, the plaintiffs sometimes make of
defendants, which is, you know, they dumped a whole
bunch of records on us and we're supposed to figure out
what the hell they mean. Okay?

And, you know, I think if the plaintiffs'
claim is focused a little bit, that not oniy helps the
plaintiff, but it helps the defendant have a better
understanding of what the claim is about. So I can
empathize with her saying, well, they dumped all these
records on us and they spanned so many years and they
spanned X number of doctors, but, you know, okay, show
me the smoking gun or show me the cause and effect or
show me the chain of events.

MS. KESSLER: And I completely understand.
And we have not withheld this information. We are
fully compiying with the Question 7 in the supplemental

rogs that ask for the same information.

 

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But in addition, there's an example, it's
George Williams is a filed case where for a form A rog,
we have provided a narrative form, it goes for two
pages. The plaintiff had 16 hospitalizations. ‘There's
all listed --

MS. SHARKO: There's no motion on that
case.

MS. KESSLER: There's no motion, but the
discovery —--

MS. SHARKO: There's no motion.

THE COURT: Let her finish and then I want
to hear what you have to say.

MS. SHARKO: Okay.

THE COURT: Go ahead.

MS. KESSLER: The same deficiency letters
that have been served on me have been served on all
counsel here and all counsel in all these cases. And
even though we provided that narrative, Ms. Sharko also
served a deficiency letter saying that that wasn't
specific enough.

Now, there isn't a motion pending in front

of you, but I think it's important to understand --

THE COURT: I'd rather discuss it now.
MS. KESSLER: And I have it with me, if

you'd like to see the full description, but, you know,

 

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this 1s where tne dispute is.

And then there's also examples of
information that they're moving to compel in the
proposed orders that isn't in their briefs that we have
supplied.

One is ~~ Number 1, it's a question of
provide the name, address and -- name, address and date
of birth for the plaintiff. We've provided that. And
they're moving to compel that. It's clearly answered
1£ you look at the answer. We provided that.

And another example is in David Douglas,
they're moving to compel all wage loss information.

The plaintiff withdrew those claims. The wage loss
isn't even here -- it isn't even part of the case
anymore, but they're still moving to compel that
information.

There's also another question in Shelly
Rahman that they're moving to compel her information as
to a criminal history. She answered that. She has no
Criminal history. We've answered no.

So there's a lot of information that
they're moving to compel that we have fully provided.

But then there is another set of questions
that are clearly inappropriate and, you know, we can

talk about that. It goes into the FOIA document

 

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argument as well.

THE COURT: We're going to -~ I'm saving
that for last, because I assume that's going to consume
the most time.

Ms. Sharko?

MS. SHARKO: So Ms. Kessler has not
addressed the question. The question is, do they have
to answer the interrogatories. Specifically, we filed

targeted motions on the cases =~

THE COURT: Well, here's my question: What
if she said, see answer to number something else
someplace elsewhere where there's a narrative?
Wouldn't that satisfy it?

MS. SHARKO: That would be fine, Judge, but
that's not what they did. In some cases, they provided
narratives and answers, like the Williams case, so
there's no motion in the Williams case.

In the cases where we made the motion, we
asked, tell us a detailed description of the nature,
extent and duration of any and all injuries. So, for
example, when Mr. Rheingold answered that question in
his cases, he laid out, she'‘was in the nospital for
five days, she had this problem for two weeks
thereafter and now she has this problem. That's the

way plaintiffs’ lawyers are supposed to answer those

 

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questions.

What Ms. Kessler did in the cases that are
the subject of the motion, not in all of her cases, but
in the cases that are the subject of the moLlion, is she
cut and pasted the same answer in all the cases from
her Complaint, "Severe and debilitating intestinal
and/or colonic disease, manifestations,” and it goes on
from there.

What we're looking for, what we're entitled
to have, 1S what are the damages claimed, what happened
to the person and what are their residuals. And they
should have to answer that. ‘That's what the motion on
Question Number 3 is.

And so I think we need to look at each of
the questions which are the subject of the motion and
we request that they answer them.

If there's no lost wage claim, then Lhey
should say so and we don't -~ we won't pursue that.

But we need to have answers to these basic things.

THE COURT: Well --

MS. KESSLER: Your Honor, if T could just
respond. I can read you our response in the motion --
or the question that they're moving to compel in
Braswell. For Number 7, the supplemental rogs, we

provided a much more detailed description of it.

 

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"Plaintiff identifies the following injuries, elements
Or pains: Dizziness, nausea, belching, diarrhea,
vomiting, weakness and other stomach problems and other
residual problems for whicn treatment has been given by
those entities listed in plaintiff's answers to Form A
interrogatories."

Just as you said, Your Honor, we're
referring to other parts where we answered this
discovery. A lot of these questions are duplicative.
And then there's others that are just clearly
inappropriate. For example, they request all medical
information from date of birth. You know, I think we
can all agree that when the plaintiffs are suing on the
basis of ingesting a drug from a particular set of
time, which we have provided to the plaintiffs, that
their entire medical history from birth isn't relevant.

And then in addition --

THE COURT: Unless they're very young.

MS. KESSLER: Most of them are older.

But then again, they also ask for the
entire employment history, from age 18, of every single
one of our plaintiffs.

THE COURT: Again, unless they're very
young, you know, I do this with lawyers frequently. We

negotiate what's a reasonable time to look back and we

 

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agree upon a number. Or we don't agree upon a number
and IT pick a number.

But, I mean, I would think, Ms. Sharko, in
cerms of, you know, entire history from the day they
were born, that's pretty overbroad. And it could turn
out to be unreasonable, because there were a time when
people didn't keep good records. There were times when
a physician's office was closed and the records got
dumped. We live in a different world right now. But
in terms of trying to get the entire medical history of
people, it could be difficult.

So, I mean, what's a reasonable time frame?
x number of years prior to the -- prior to ever
ingesting this medication?

MS. SHARKO: And so I don't think that
counsel has correctly framed the issue, but to answer
Your Honor's question, we'd like 20 years of medical
history.

THE COURT: I think that's excessive.

Right now, I can tell you [f think it's excessive. I
think half of that 1s getting to the outer limits. 20
years T think is excessive. TI'm talking about the X
number of years, not prior to the filing of the

lawsuit, but X number of years prior to the ingestion

 

of this medication. 20 years? J think that's

 

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excessive.

MS. SHARKO: And the reason is, is these
people are taking the medication for hypertension.

THE COURT: Right.

MS. SHARKO: ‘They have long years, many of
them, of a history of hypertension. And so we, I
believe, need to know what their medical history has
been --

THE COURT: Yeah, but it sounds like they
have only a short history of these symptoms. Right?

MS. SHARKO: Symptoms meaning hypertension?

THE COURT: No, no. I'm talking about the
symptoms of intestinal colonic disease and
manifestations known as sprue-like enteropathy. They
have a short history of that.

And so I'm saying, when did they take
Benicar, and then Let's move back from that a
reasonable date and then look at all the medical
records you want.

MS. SHARKO: So 10 years back from their
first Benicar prescription?

THE COURT: I would say 10 years is the
outer Limits, to be honest with you. 20 is excessive.
It really is. It creates an unnecessary burden on a

lot of people. And let's be candid about it. It's

 

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going to create -- judges don't like entering orders
that they think can't be complied with.

And so if IT say 20 years to satisfy you, I
know we're going to come up wilh mulliple siluations
where I'm going to have to be reviewing explanations as
to why they couldn't get anything after year 15 or
after year 17 or after year 12, because Dr. So-and-so
died and the people who brought his practice weren't
interested in his records anymore.

MS. SHARKO: I would never bring an issue
like that to the Court when --

THE COURT: I don't know if you would or

you wouldn't. 20 years is excessive. It really is.
T'm taiking from the time -- because I understand
hypertension can last a long time. I've had members of

my family that had hypertension for the last 50 years
of their life. Okay? But they didn't take a
particular medication for 50 years. And they didn't
have symptoms from that medication after a certain
point in time.

So I think the window, the window has got
to be a little bit narrower, a lot narrower than 20

years.

MS. SHARKO: I would ask for medical

 

records from the first diagnosis of hypertension. So

 

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in some people, that will be a short period of time,
and in others, that will be longer. But it's about --
this litigation is about a hypertension ~-

THE COURT: See, but the symptoms that
we're talking about here, in terms of, you know,
intestinal difficulties, they had a beginning point.

MS. SHARKO: Not necessarily, Judge. There
are plaintiffs who have had these symptoms on and off
for many years, because they have irritable bowel
disease, because they have celiac disease, because they
have colitis. These are not --

THE COURT: No, I hear you. I see
it in other cases. And, again, you see it anecdotally
in your own personal history. There are people who can
have, for lack of a better term, spastic colon when
they're a young person and then they have no other
manifestation until years later.

Bul what ['m trying to negotiate with you,
and if I can't do it, I'll arbitrarily set it. We'll
pick a date, which is the date that Benicar was first
prescribed, and then go back a certain number of years
and say, we want your complete medical history for that
window of time preceding the first prescription of
Benicar.

I think that's the way to approach it. 20

 

 

 

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years 1s not the number. T think a reasonable number
1s seven years. And if within those seven year --
within that seven-year window you detect something that
says, you know, it looks like this condition was a
whole lot prior to that date in the seventh year that
we're looking at, and, Judge, we need more records, my
response will be yes.

MS. SHARKO: Okay. We would agree to ten
years before the first Benicar prescription.

THE COURT: Well, doesn't matter. I'm
ordering seven. f'm glad you agree, but I'm ordering
seven.

MS. SHARKO: Okay.

MS. KESSLER: Your Honor, may I just make a
suggestion as to --

THE COURT: Ms. Sharko, I don't mean to be
disrespectful to you, but T'm sitting here saying to
myself, what's reasonable? If you find something in
the seventh year that indicates to us, hmm, this thing
looks like it's been around for a while, then you're
certainly going to be entitled to the additional
medical history.

I don't know, but my prognostication is
that we're not going to have too many of those

situations. 7 think what we're going to have is the

 

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seven years is going to be plenty of information on
everybody. Tt's going to be seven years.

MS. KESSLER: And I think the same
limitations as far as employment history, all these
other questions of information that they're seeking --

THE COURT: Well, I Look at employment
maybe a little bit differently. 7 think seven years is
reasonable for employment, too, unless they were with
one employer that entire seven years and then maybe
want to know who the employer was before that, because
maybe there was a reason for separation that might be
relevant to their credibility, might be relevant to the
injury, might be relevant to whatever. So, you know,
Lf they had one employer for seven years, then I would
say, okay, who were you employed with prior to that and
prior to that. The last three employers or seven
years.

MS. SHARKO: ‘That's actually not an issue
before the Court, but we'll do that.

THE COURT: Hold on. What T'm trying to do
is see what we can agree upon to expedite things.
Because, T mean, until you have all the information you
need and until you have all the information you need,
you know, Uhis case isn't going to be ready for

anything.

 

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What I'm trying to do is minimize -- I've
had enough telephone conferences with you to know that
you're not agreeing a whole lot with one another, so
what I’m trying to do is expedite things.

MS. KESSLER: Your Honor, I think the most
efficient way to do that is for us to meet and confer
to figure -- to implement this fact sheet.

THE COURT: Well, Tim giving you some

guidelines.

MS. KESSLER: Absolutely.

THE COURT: I think seven years. And, you
know, that's not an arbitrary number. I get to seven
years from -- in many situations, in terms of business

records, tax records, seven years is typically a cutoff
point.

But let's get back to the subject at hand.
When I look at answer ~~ and we'll be specific now.
When I look at Answer Number 3 to the interrogatory
propounded to Mr. Atwell, detailed description, nature,
extent and duration of any and all injuries, severe and
debilitating -- and we know what it says. All right.

Now, here's my question: Do you give
supplemental or additional narrative for Atwell

someplace else?

MS. KESSLER: Yes, Your Honor. In Question)

 

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Number 7 in the supplemental interrogatories, which
they did not move to compel, the question says,
"Describe fully and” --
THE COURT: This is the hospitalizations

you're talking about?

MS. KESSLER: The question, it reads,
"Describe fully and with particularity how the incident
occurred, including all injuries, elements or pains
which you allege arose.”

We provided a more full answer in that, and
they have not moved to compel in Atwell. They have
only moved to compel a more complete response in
Braswell, which we read before. So I think they're
entirely duplicative questions.

THE COURT: I'm looking at the answer to
Number 3. And we know you're going to have the medical
records before this person is deposed.

Aren't you going to learn a lot of things
you need to learn at the deposition?

MS. KESSLER: Your Honor ~-

MS. SHARKO: See, the problem is, Judge --

THE COURT: Ms. Sharko is going to reply.

MS. SHARKO: The problem is, Judge, with
the answer to 7, there's a long objection and then she

says she identifies the following injuries from April

 

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2013, "belching, diarrhea, vomiting, weight loss and
other stomach problems and other residual problems for
which treatment has been given at various times.”

And the interrogatory asks specifically
describe wnat the injuries are, in what respect you're
still affecled by them, state where, by whom and how
frequently you're still under treatment and when you
were last seen or given medical attention. And that's
what we want to know. How are these people doing
today? And that is particularly important, because as
you'll hear this afternoon, the science is overwhelming
that these people who have this alleged problem have no
residuals.

So if the New Jersey plaintiffs are
different and they claim residual injuries, they claim
that they're still under treatment, we want to know
what their residual injuries are, what treatment
they’re receiving and by whom or whether they've
recovered. It's a basic litigation question.

And saying other stomach problems and other
residual problems for which treatment has been given at
various times by the healthcare providers listed in
this other answer isn’t enough. We appreciate that
they're giving us a list of healthcare providers, but

we want to know what are the permanent injuries they

 

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claim, what is the treatment they're still receiving.

In these medical cecords, many of these
people have long, complicated medical histories. And
so I could read that and say, yeah, they can't be
complaining that their heart palpitations are related
because they had heart palpitations for years, but
that's me interpreting their answer. They need to
specify what is it that they're laying at our feet as a
permanent or continuing injury and what treatment are
they receiving for it. There's no other way to
evaluate the case.

MS. KESSLER: Your Honor --

THE COURT: Well, I respectfully disagree

with you.

Let's hear from Ms. Kessler.

MS. KESSLER: They haven't moved to compel
any responses to Question 7 except for Braswell. The

other ones they have deemed sufficient and that's not
before you. So to say that we're not fully complying
with providing a description, you know, it's belied by
the fact that they're not moving before you for that.
But IT have George Williams here, where
there is a narrative account that's provided, along
with their deficiency letter that they're sending. And

at's another point to keep in mind, that Ms. Sharko, as

 

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pro forma, in every single one of these cases is
sending all plaintiffs' counsel these deficiency
letters where she sets out what she believes is
deficient.

{ think T'm one of a few that is actually
responding to these letters and providing additional
information. So it's not, Your Honor, just what's in
these interrogatory responses, it's also our
correspondence, it's our letters afterwards, it's our
medical records. We have provided an enormous amount
of information to Ms. Sharko.

MS. SHARKO: There's no issue before the
court in the Williams case. The Williams case has
responsive answers.

MS. KESSLER: And yet a deficiency --

MS. SHARKO: The Levin Papantonio firm gave
responsive answers.

Where we think we need more information or
we want follow-up, we send a letter. That's how it
works. And there should be a meet and confer. The
Williams case is not the subject of any motion.

MS. KESSLER: It's not the subject of a
motion, but it's a subject of this litigation tactic.

THE COURT: And I prefer discussing it now

rather than seeing another motion later.

 

 

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When T look at the answer to Number 3 and I
look at the answer to Supplemental Number 7, and when I
consider the fact that you're going to have medical
records, I'm saying to myself -- IT guess we all bring
our experiences and prejudice with us to the things
that we do. And I did mostly commercial litigation for
30 years. And, candidly, there were times when I
didn't propound interrogatories because I wanted that
person under oath so that their lawyer couldn't help
Lhem with the answer and so that they couldn't squirm
out of the answer later on. And the more detailed
information you ask for in writing, the more assistance
they get from the Lawyer in preparing the answer.

Now, I agree there's a certain amount of
limiting of the wiggle room that way too, but stuck in
the position f'm in now, in terms of having to decide
is this answer sufficient, seems to me it is. Tt seems
to me that the next thing you want to do is depose this
person. That's my perspective.

MS. SHARKO: Okay. Then we'll start the
depositions.

THE COURT: That's fine. Because I'm
Looking at the answer to Number 3, the supplemental
answer to 7, and overlaying or, you know, injecting

into that, weaving into that, I'm thinking of the

 

 

 

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medical records. fine. Next thing to do is depose
them.

MS. SHARKO: Okay. If that’s --

THE COURT: All right. Yeah, it’s
really -- I'm just Looking at this one right now,
Atwell. Okay? Because we've got the answer to Number

7 in the first, which is all the hospitalizations and
doctors. And I'm assuming there's records to back
those up?

MS. KESSLER: Absolutely.

THE COURT: Okay. So we got the answer to
Number 3, we got the answer to Number 7, we've got the
answer to this Number 7. And I'm saying to myself, the
next thing you ought to be doing is taking depositions.

T'll concede to you, I may be injecting my
prejudices into it. But I think objectively, you've
got enough to get started to go from there in taking a
deposition. I genuinely believe that.

MS. KESSLER: And we had ~~

MS. SHARKO: And --

THE COURT: Let her finish, please.

MS. SHARKO: So we will do that. I was
hoping I could find out, short of a deposition, what
the residual injuries were in each case. I have

started to request depositions. The plaintiffs have

 

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taken a position that we can't go forward with them.
They gave us --

THE COURT: Phat was one of the things we
were -~- one of the things we're going to talk about
today, when we get through the motions, is a schedule
to talk about fact witness depositions.

MS. SHARKO: Okay. They gave us dates for
depositions in two cases and not for any others. But
we'll proceed with deposing all of them. ‘That's fine.

THE COURT: I think that's where we are.

It the answers to the others are comparable to what we
have in Atwell, then I'm saying, next thing to do ais to
depose them. That's my perspective on this.

MS. SHARKO: We do need Answers to
Interrogatories and preliminary requests and document
requests in a lot of cases. There are a lot of them
that are overdue. We haven't filed any motions, but
that is an issue.

THE COURT: Well, I'm hearing from Ms.
Kessler that for those situations where there's
disagreement, they're going to meet and discuss it.
It's an amazing term, “meet and confer." I hear it ail
the time. You're going to meet and discuss it. And
what you can't agree upon, somebody will make a motion.

But hopefully we won't be at that point.

 

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So all that said, where are we? Because I
know that plaintiff nas agreed to give you the
case-specific information, the three categories that I
just a moment ago read into the record.

I know that the defendant is prepared to
provide their responses to the requests for
admission -- or excuse me, the request for production
within 45 days.

Anything else that's still in dispute on
the paper discovery that is the subject of this motion
today?

MS. SHARKO: On the paper discovery, we're
going to get back to the plaintiffs on the points
raised in their letter and meet and confer, supplement
where we can. And where we can't and we'll disagree,
then 1£ we disagree, then we'll contact the Court.

THE COURT: Okay.

MS. SHARKO: You mentioned the request for
admissions. Mr. Slater and I have an agreement on
dates for serving requests for admissions. That's not
before the Court because Mr. Slater and I worked that
out. But you raised request for admissions, so IT
thought I hadn't answered that question.

THE COURT: 45 days takes us to around June

12th, I think. Right?

 

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MS. KESSLER: Your Honor, IT just need --

THE COURT: If you need a few more days
after that, that's fine toc. We'll plug in a different
date. dune 26th, two weeks after that, and then
everybody lives with that date. How does that work?

MS. SHARKO: And that's for the plaintiffs
to respond to our requests and for us to get back to
them on their Letter and meet and confer?

THE COURT: Correct. That’s for both of
you, whatever is outstanding, June 26th will be the
date by which you have to furnish it. 1 think that's
like seven weeks from today.

MS. SHARKO: I would -- just one issue
raised by Ms. Kessler's letter, and we have to work
that out, is documents. Obviously we won't have all
the documents in the entire litigation produced by June
260th. -£ don't think that's what Your Honor
contemplated -- 1s contemplating.

THE COURT: When you say documents, are you
now moving to the next issue, the FDA documents under
POTA, or what are you referring to?

MS. SHARKO: No. Just her letter addresses
discovery requests, interrogatories and document

cequests. And we're doing documents on a rolling

 

basis. We produced 3 million-plus pages, and we

 

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continue to do that every week. I just don't want
anyone to think that we're going to be done by June
260th. That's physically impossible.

THE COURT: You understand that?

MS. KESSLER: I understand that as far as
the letters where we specified the deficiencies that
we're seeing in the responses themselves. But our
cross-motion does have specific documents that we have
been seeking for many months that go beyond that. And
a lot of this actually, Your Honor, dates back to your
order from December, that you ordered that the
defendants provide ali adverse event reports. They
still have not complied with that.

So there are specific documents that we set
out in our cross-motion that we are seeking that we
would like a set deadline for the defendants to be
producing this information, because we have been
waiting this long.

MS. SHARKO: i think the better approach,
Judge, 1S that we meet and confer and see what’s at
issue. For example, you denied the plaintiffs' motion
to compel the production of every adverse event report.
You instead ordered, back in October, that we produce

ali the adverse event reports for certain categories.

 

THE COURT: Correct.

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MS. SHARKO: And we've done that. We’ve
done that. We did thal months ago.

So this is why IT think we need to meet and
conter with Ms. Kessler over her 84 pages of letters.

THE COURT: Well, [I agree, but let's
overlay on that conversation that the older or the
longer her request is outstanding, then the better, the
more urgent the need for an explanation as to why it
remains outstanding. If it remains outstanding because
you can't find it or haven't been able to put it
together, or it remains outstanding because we haven't
given it to you, we're never going to give it to you.
So, I mean, we need to know the difference. And maybe
you can resolve that at the meet and confer. But the
older the request, the longer it's outstanding, then
the more determined I am to get it resolved.

MS. SHARKO: I understand that.

And £ just want to note that we responded
to the discovery request about six months ago and we
heard nothing from the plaintiffs. They did not have
any complaints or issues. The first letter --

THE COURT: In response to the rolling
furnishing of documents, you're saying?

MS. SHARKO: Right.

THE COURT: Thus far there have been -- all

 

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right. But in Lheirc moving papers, they're poinling to
specific requests that they think have been outstanding
for a while.

MS. SHARKO: Right. And so we got that
letter a week or two ago. Tt was 80-some pages long.
And we'll meet with her -- as we told her when we got
it, we would meet with her and try and get these issues
resolved by the end of May.

So you've given us an extra 26 days. We
appreciate that. And we will do that.

MS. KESSLER: Your Honor, again, some of
these disputes -- I mean, Ms. Sharko is trying to say
that we just told them about this last week. That's
not true. I mean, I know that you received the letters
back in January a couple weeks after they were
compelled to produce this information. We reviewed the
documents that we received, and we noticed that we are
missing information.

The adverse event data, as to the
limitations that were placed on it, Your Honor, we
don't have ail that information yet. They haven't
complied with that. And it's the same for the FDA
communications; we're still waiting for correspondence
that the defendants had with the FDA, you know, again,

information that's readily available to them that's not

 

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being produced.

Another issue, Your Honor, is that there is |
a Department of Justice civil settlement reached in
January. We didn't find out from the defendants, even
though we served requests, as to that information. We
found out from the news, from the Department of Justice
website, that they and Daiichi reached a civil
settlement, $39 million involving kickback allegations.

We don't have a single document related to
the investigation that went on for four years with the
Department of Justice, with muitiple subpoenas served,
not only on Daiichi, but also the Forest defendants.
We have no information from them. I have information
from the docket and from the Department of Justice
website, you know. And this is something that they
Clearly have, you know, that should be provided.

THE COURT: Well, her client clearly has
it. Et doesn't mean Ms. Sharko has it.

MS. SHARKO: So if I could respond.

THE COURT: Go ahead. Yes, you can
respond.

MS. SHARKO: We have produced the adverse

event reports. We have produced the FDA
correspondence. I'm surprised to hear Ms. Kessler say
that. So I think we need to sit down and maybe we can.

 

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again show her where this is in the document
production.

In terms of the civil settlement, we
amended our interrogatory answers to reference that.

THE COURT: You did? Okay, good.

MS. SHARKO: Yes. There are no discovery
requests that deal with that. If she wants documents
related to that, we'll figure that out.

THE COURT: No, hold on, Shouldn't she be
able to make a FOTA request for those documents too?

MS. SHARKO: Can she make a FOIA request?
sure.

THE COURT: To the Department of Justice.

MS. KESSLER: For the Department of
Justice?

THE COURT: Yeah.

MS. KESSLER: But it's more than that, Your
flonor. I mean, I'm not only looking for the
communications that happened with the Department of
Justice and tne defendants. And a request like that
could take years for the Department of Justice to
provide information.

THE COURT: Well, hold on, hold on. We all
know that in the Anglo-Saxon tradition of the law,

there is a strong preference for settlement of

 

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litigation. And we all know that in sekttiing
litigation, it oftentimes happens that certain things
remain confidential because the parties' attitude is
that, well, if this case had been litigated, it might
have turned out a whole lot different; but because we
decided not to litigate it, we've agreed that you're
not going to learn about these things. So, you know,
keep that in mind. That happens at lots of different
levels --

MS. KESSLER: I know.

THE COURT: —-- you know, not just in these
types of proceedings where, you know, everybody aqrees,
we won't litigate because it makes more sense to
settle, but in settling, we want what we've shared with
one another in terms of showing our hand, we want that
to remain confidential.

SO I don't know what happened with the
Department of Justice. I'm sure I'll find out to some
extent. So keep that in mind. TI don't know how
forthcoming they have to be until we know how it was
settled.

MS. KESSLER: Well, we do know how it was
settled.

THE COURT: Go ahead, tell me.

MS. KESSLER: There was a public

 

 

 

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announcement. There's a corporate integrity agreement
that the defendants agreed to sign. if have that from
the docket. A lot of this information is released, and

T’m not sure that the Department of Justice even agreed
to a confidential settlement with those terms. I think
the purpose of it is to make the public aware that this
kickback, you know, bribery scheme existed among the
promotion of these drugs and that the public is
entitled to this. information.

But even if that information is
confidential --

THE COURT: But let me be candid with you
about that. Tsn't that really a side issue, too,
though?

MS. KESSLER: It's not a side issue, Your

Honor.

THE COURT: Not a side issue?

MS. KESSLER: Because it has to do with the
promotion of these drugs. It has to do with the

contact that this company had with the physicians who
prescribed this drug to our plaintiffs directly.

THE COURT: Yeah. But at the end of the
day, you're going to have to have a credible hypothesis
for the biological mechanism of Benicar and a

bellyache. Right? At the end of the day, that's where

 

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we are. So that's a side issue to that issue,

I mean, J'll never discuss that issue at a
Kemp hearing, will I?

MS. KESSLER: Well, it's not a causation
issue.

THE COURT: Right? So it's kind of a side
issue from my perspective.

MS. SHARKO: It is.

THE COURT: It may become relevant at
another time, I don't know. But right now, you know ~~

MS. KESSLER: Your Honor --

THE COURT: -- I support your request to
get the information. And she knows she has an
obligation to be forthcoming on the information.

If we get to a point where she has
furnished information --

She has to propound an additional request,
is that what you're saying?

MS. SHARKO: Yes.

THE COURT: You amended your answer to say
there was a settlement?

MS. SHARKO: Right. And so now, if the
plaintiffs want -- we're here arguing about documents
that they haven't asked for, for production. So if the

plaintiffs, knowing about this from us and knowing

 

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about it from the news, want specific documents

celated --

THE COURT: They should ask for them.

MS. SHARKO: They should ask for them.

THE COURT: I agree.

MS. SHARKO: And we will respond.

THE COURT: And I gather they're going to.

MS. KESSLER: We did ask for them, Your
Honor. It's Request Number 15. Defendants have not

produced any documents relating to other lawsuits
filed. They claim privilege.

MS. SHARKO: There was no lawsuit filed.

THE COURT: Hold on, hold on. That's
pretty --

MS. KESSLER: This was.

THE COURT: Other lawsuits filed, I might
read that and say other personal injury claims.

MS. KESSLER: Well, then let me take a step
back.

THE COURT: TF don't think TIT would read that
in this context of this lawsuit, claims brought by the
United States government.

MS. KESSLER: ft wasn't brought by the
United States government. So I could give a little bit
of history of it. It was a whistleblower suit —--

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brought by a Michigan sales representative who filed
consumer ~~ filed a Fraud Claims Act.

THE COURT: All right. Hold on. We are
digressing. And we don't need to do that.

T think what we need to do is for you to
sharpen your request for information concerning that

settlement and give Ms. Sharko the opportunity to

reply.

MS. SHARKO: Thank you.

MR. SLATER: And if I could, Your Honor --

THE COURT: Mr. Slater is eager to say
something.

MR. SLATER: I think that what Your Honor
has suggested -~ I think that question does cover it.

Just so you know, a civil suit was filed, it was a qui
tam action by a whistleblower ~~

THE COURT: All right. But I just told
her, that's a digression.

MR. SLATER: ft get it. I just wanted you
to know --

THE COURT: Okay.

MR. SLATER: -- they'll have a request in
their hands by Monday.

THE COURT: Good.

MR. SLATER: A 30-day request. And then

 

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we'll come before Your Honor. I agree. It's not going
to be the subject of a Kemp hearing, probably be the
subject of our punitive damage closing at trial.

THE COURT: You never know. You never know
where these things go. But I want to try to stay
focused, because what my goal is, to get everybody have
the discovery that they're entitled to, to have

depositions of the fact witnesses, get your reports

from your experts -- and | don't have a date in mind
for that -- get your reports from your experts, get
their reply, have depositions of the experts. Isn't

that the logical progression? That's where we have to
go.

MS. SHARKO: Tt is. And to that end, there
are 18 cases where discovery responses are overdue,
15 of -- 16 of Mr. Slater's, a whole list of Ms.
Kessler's. And so if we could have an order compelling
plaintiffs to respond to all outstanding discovery
requests within a reasonable period of time.

THE COURT: I see smiles from both your
adversaries. Tell me what's your problem with that.

MR. SLATER: I have an attorney who is
asking to compel discovery against me when no motion
has been filed.

MS. SHARKO: That's what we just did.

 

 

 

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MR. SLATER: Well, hang on. There's
absolutely --

THE COURT: Well, no.

MR. SLATER: I don't agree that we nave any
discovery outstanding. In fact, | got a letter a
couple days ago from Ms. Sharko's associate in the
Anzalone case, which is the first case I filed here in
New Jersey, asking us when we're going to serve our
Form A interrogatory answers and supplemental
interrogatory answers. I think they were served about
seven months ago. It was -- they obviously need to
check their files, but --

THE COURT: She's snaking her head no.

MR. SLATER: I'm not ~--

THE COURT: And you’ll have a paper trail
if they were.

MR. SLATER: Yeah. I mean, they need to
file a motion if they want to compel discovery from me,
because I'm not deficient on anything. And TI just --
there's no issue there.

MS. SHARKO: Well, we sent Mr. Slater a
letter back in April. He owes us interrogatory
answers, document requests, preliminary discovery forms

for the Avery case, the Dom case, the Evans case, the

 

Lewis case, the Menyweather case, the Parker case, the

 

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Pitts case, the Robinson case and the Taylor case.

MR. SLATER: I don't litigate this way,
Judge, walk in -- you know what's going on. If she
wants to file a motion --

THE COURT: I don't know what's going on,
other than we're having a pretty free discussion. And
I'm okay with it. This doesn't unsettle me.

But in looking at my own notes, one of the
things I'm going to add to it is that after you meet
and confer, we will have a conference call, which may
be preceded by you giving me your submissions, as to
where we're having problems, and we will then have an
on-the-record management conference. And we'll
probably, you know, figure out that date today, before
we're through here.

MS. SHARKO: Okay.

THE COURT: But, again, you have said in
your responsive pleadings that there are -- I think
it's 156 requests for production that you will respond
to between now and [I've extended it to June 26th. You
have said there's information that you're going to
provide, and you're going to get that case-specific
information and the other production information
between now and June 26th.

And then within that time frame, because

 

 

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you're going to be knowing what you're producing and
what you aren't, you're going to meet and confer. And
then on June 26th, by that date or before, you're going
Lo know where we're at loggerneads, where you're at
loggerheads and where you aren't. Okay? And then
we'll talk about that on the phone, and then we'li meet
to see how we can resolve this.

MS. SHARKO: Thank you.

MS. KESSLER: Your Honor, fT think the most.
efficient way to do that is, from the plaintiffs’ side,
with these requests that are in the proposed order that
they're claiming need to be compelled, is for us to
meet and confer as to a fact sheet that can apply
uniformly across all these cases,

THE COURT: Well, I think that needs to be
done.

MS. KESSLER: Along with ~-

MS.-SHARKO: So here's the issue, Judge --

MS. KESSLER: I'm sorry, I --

THE COURT: Go ahead.

MS. SHARKO: We have had discovery requests
outstanding to the plaintiffs in many cases for many
months. And what would be unfair is to say, all right,
forget about all that. Now, spend a month agreeing to
a fact sheet and then start the clock running again.

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So I absolutely favor the fact sheet that
will be negotiated in the MDL between these same
lawyers, having that apply in this litigation
prospectively, but I don't think for all the cases
where we're waiting for discovery, which is over 20
cases, we should stop.

THE COURT: Do you have the fact sheet
that's being used in the MDL with Judge Kugler?

MS. SHARKO: That is just an idea right
now. It actually do have a draft that I'm working on
that my plan is to send to the plaintiffs --

THE COURT: I was going to say, have you
shared it with the plaintiffs?

MS. SHARKO: No. T'm not ready to do that
yet.

THE COURT: All right. Once you share it
with the plaintiff and the plaintiff has responded,
then share it with me.

MS. SHARKO: Sure.

But I don't think that -- what I'm
concerned about, and 1 agree that once it's agreed upon
we'll use that going forward, but what I don't think
should happen is all case-specific discovery from the
plaintiffs is now suspended while we do that. The

plaintiffs who have discovery requests, and have had

 

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them in some cases for 30, 60, 90 days, should be
answering them. And in the future cases --

THE COURT: [T don't disagree with that, but
Mr. Slater is saying there isn't any outstanding from
his clients.

SO are there any outstanding from your

clients, Ms. Kessler?

MS. KESSLER: Tf don't -- not that I know
of. FT don't know what specific cases she's talking
about.

You know, we have -- every time they have

sent me a letter saying that we're deficient or that
we're not responding, I have done my best to answer
them. And that to address this, I did switch law
firms. You know, they were kind enough, they gave me
some extensions on a few cases. I complied with all
the extensions that they've given me, I've served
within those time periods. You know, in addition that,
I don't know which cases that she's speaking to.

But as far as going back in time, what Ms.
Sharko is saying is that, again, the proposed orders,
the questions that she's moving to compel, the
information that she says that isn't sufficient that
we're not supplying, we disagree. We have a

disagreement about that.

 

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And then on top of it, some of these
questions are just clearly inappropriate.

THRE COURT: Well, they're inappropriate
or -~- I mean, inappropriate is a judgmental thing. And
maybe I have to decide that. Ff would prefer not. 1
would hope you'd be able Lo decide it.

But duplicative is another thing. If don't
see the point of redundancy ever.

MS. KESSLER: L agree. And [ think that's
why, if we worked out a fact sheet where we can settle
on this universe of what the discovery in these cases
should be, 1s the most efficient solution to this,
rather than us coming back here and Ms. Sharko claiming
she didn't get a response to Document Number 14 -- or
Request Number 14, which requests all documents
celating to Benicar in plaintiff's possession,
plaintiff's agents and plaintiff's lawyers. And we
have a serious fundamental problem with that question,
along with other questions that she's compelling.

You know, one of the questions is she wants
the identities and names of all of our experts. That's
in their proposed orders. So it's just --

THE COURT: You'll get it at some point.

MS. KESSLER: Absolutely, Your Honor. But

 

at this time --

 

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THE COURT: I'm not going to hold -- I'm
not going to hold them to a specific date right now. I

think that's a little bit premature.

MS. SHARKO: I agree with that.

THE COURT: Okay.

MS. KESSLER: Then, again, that’s in their
proposed order.

MS. SHARKO: The Robins Kaplan firm has had
the Keeler case, and we don't have any discovery
responses in. They were served December 16th.

I have -~ I mean, I have a list here of who
owes what. My only point is that we should not suspend
everything while a fact sheet is worked out. Because I
assume that if we agreed on a fact sheet on June 1, are
tne plaintiffs then going to go back and fill out that
fact sheet for every single case in the litigation,
including those where they've answered interrogatories?
If they're willing to do that, I might be more
interested in it.

THE COURT: Here's the thing. I think it's
in both of your -- in both your interests, to the
benefit of both of you, to have uniformity.

MS. KESSLER: Absolutely.

THE COURT: It expedites the handling of

 

information. It expedites the understanding of

 

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information. And so, you know, I'm miidly chagrinned
that we don't have it already. I mean, I think we'd be
a lot better off if we had -- you'd be a lot better

off, you'd be a lot better off, if we had an
agreed-upon plaintiffs fact sheet.

MS. KESSLER: Absolutely, Your Honor.

THis COURT: I know T'd be -- it makes it a
lot easier for me.

MS. KESSLER: Absolutely. And we'd be
happy to adopt --

MS. SHARKO: So what --

THE COURT: You're both talking at the same
time.

MS. SHARKO: Once we have an agreed-upon
fact sheet then, it will be completed by every
plaintiff in the New Jersey Litigation, regardless of
whether they've answered interrogatories?

THE COURT: Yes, yes, yes. It's going to
make it a lot easier going forward.

MS. SHARKO: Okay.

THE COURT: If it requires you to duplicate

some effort on individual plaintiffs, so be it. But
going forward, it makes things a lot easier. It really
does.

MR. SLATER: Should we suspend answering

 

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interrogatories while this meet and confer process goes
on, so we don't duplicate effort?

THE COURT: Now, I don't want you
duplicating efforts.

MR. SLATER: That's the problem.

THE COURT: But <I want you to focus on --
have you given them your thoughts on a plaintiff fact
sheet?

MS. SHARKO: The plaintiff fact sheet was
first raised by Judge Kugler on April 29.

THE COURT: Good.

MS. SHARKO: And we're supposed to meet and
confer before May 20.

So, no, I haven't. But T really don't want
to have everything stop in New Jersey. There's no
reason the plaintiffs can't give us medical records
authorizations or the basic information about their
cases. I believe that each plaintiff should be
supplying proof that they took the product and they had

an event.

We have in ~~ out of the 59 cases in New
Jersey, only 23 plaintiffs have provided prescription
records that show a Benicar prescription and event
records that show a diagnosis.

MS. KESSLER: Okay. Well, that's very

 

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misleading because there's four medications here.

THE COURT: That's a perfect example. The
other 36 are going to have to prove they took the
medication. Right? You know, you're not going to be
able to come in here and say, oh, well, J'm pretty sure
1t was.

MS. KESSLER: Your Honor, that was --

MS. SHARKO: If I could finish --

MS. KESSLER: -- so misleading, because

there are four medications that contain the drug

ingredient in question. It's not just Benicar. It's
Benicar, it’s Benicar HCT, Azor and Tribenzor. So
she's saying that 23 may have taken Benicar. There's

three other medications at issue.

THE COURT: But here's what she said to me.
That there's 59, and out of those, we have 26. So that
tells me there's ~- did you say 23?

MS. SHARKO: There are 23.

THE COURT: So we have 36 that haven't
responded. Those 36 people are going to have to prove
they ingested something that hurt them. Right?

MS. KESSLER: Absolutely.

THE COURT: Okay. Well, the sooner she
knows that, then the more respect she'll have for the

claim.

 

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MS. KESSLER: -L£ think we're talking about a
short tame frame. And I think that as far as the
uniformity that you're suggesting makes absolute sense.
And that what's being implemented in the MDL, which is
on a very short-term basis here, we're talking May
20th. And we're also drafting a plaintiff fact sheet
that Ms. Sharko will see too,

And we think that which is implemented in
the MDL should also apply to these cases. And that we
can work that out in a very short period of time.

THE COURT: I do think that's the
preferable way. I also think, she raises a point, that
some things you're going to have to provide on any fact
sheet that's agreed upon. And so the sooner she has
those things, the more sense it makes in terms of
expediting the process.

MS. KESSLER: Okay. We could agree to --

MS. SHARKO: So what I --

THE COURT: Let her finish and then you can
go.

MS. KESSLER: We could agree to produce the
Form A interrogatories, which is where the medical
records are first produced, along with the medical
authorization and the employment authorization in the

meantime, while we work out the fact sheet.

 

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THE COURT: I think you need the medical
authorizations. And the Form A should get you started,
shouldn't it?

MS. SHARKO: Yes, sir. What I would really
like to have in addition to the authorizations is for
each plaintiff a medical record that shows that they
had a prescription for Benicar or Tribenzor or Azor or
one of the Benicar products and a medical record that
shows the diagnosis of sprue-like enteropathy or the
event that they claim in the lawsuit. It’s three
pieces of paper.

THE COURT: Well, I agree with you.
Because, I mean, the things that she just said, why
would you file a lawsuit for them if you didn't have
at. Right?

MS. KESSLER: Well, it's more complicated

than that. And this was part of her motion to dismiss
a case Six months ago. She is trying to strategically
narrow what she thinks Lhis liligation is about. It's

not sprue-like enteropathy.

Tis COURT: I remember that conversation.
And my response then is my response now. ‘here may
be -~ T don't know what they are, but that's up to them
to prove it, not for you. There may be some other

named condition that, you know, they're going to be

 

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able to show was connected to the Benicar. Well, maybe
whatever it is. But you're going to have to articulate

thak at some point. Right?

MS. KESSLER: Absolutely, Your Honor. And
I think the other --

THE COURT: And the other -- you know, I'm
saying to myself, before a suit gets filed on behalf of
a plaintiff who took Benicar, saying that that
substance injured me, you should have proof that they
took the substance and you should be able to articulate
to some degree what the injury was or you shouldn't be
filing the Complaint.

MS. KESSLER: Exactly. And I can tell you
that all plaintif£s' counsel here have been carefully
vetting the cases that have been filed and that
information is being collected.

THE COURT: I sure hope so. Tt doesn't
always happen.

MS. KESSLER: You know, this is right now a
pretty small, manageable amount of cases. There are 60
cases on file. So there is no reason that we can't
streamline this and make this uniform, along wilh
what's going on in the MDL.

But in addition to the plaintiff fact

sheet, Your Honor, there's also the defense fact sheet.

 

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And that's also peing worked on in the MDL, and it
should also apply here.

THE COURT: Yes.

MS. KESSLER: And this is very -- it's very
important too, because we have been serving all these
requests in multiple cases. However, the defendants
have taken the position that they don't have to
apply -- answer to any case-specific discovery except
in Rahman, except two questions that they unilaterally
decided are case specific.

So they have already implemented their own
uniform system of answering, and yet they're expecting
from us to be providing this discovery that's
duplicative and what I believe a lot of is

So I just think that we need a meet and
confer both on the plaintiff fact sheet and the defense
fact sheet, and we can come back in a very short period
of time and have this worked out as to what the
universe of this discovery shouid be.

MS. SHARKO: So what --

THE COURT: Well, I'm happy to hear that
Judge Kugler is a step ahead of me on the fact sheets.
And that's probably going to get resolved in front of

him quicker than it will get resolved in front of me,

 

 

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and then we'll Just piggyback on whatever gets prepared
there.

MS. SHARKO: That's fine, Judge. And we'll
do that.

IT would ask, though, that in the interim
the plaintiffs be ordered to produce for each case the
medical record showing a prescription of the product
that they received --

THE COURT: TI think that's a fair request.

MS. SHARKO: -~- or whatever.

THE COURT: I think that's a fair request.

MS. SHARKO: And number two, the medical
record documenting the event for which they seek
compensation. It should be sprue-like enteropathy, but
if it's something else, whatever that is.

THE COURT: Or whatever the condition may
be that they're saying caused --

MS. SHARKO: Exactly, exactly.

TH COURT: -- was caused by the ingestion
of this medication. You should have that information.
This is no big task. You should have it.

MR. SLATER: I think that after this
afternoon, some of these issues will be a little more

clear in terms of why it seems like we're arguing over

semantics, but we're really not. So I would ask Your

 

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Honor to wait and see what you learn this afternoon
about what's really going on.

And, for example, what Ms. Sharko was
telling you, if a person doesn't have a diagnosis of
sprue-like enteropathy, and you're ahead of the game on
that, you know they don't have a case, well, one of the
problems here is the information was never given to
doctors, even the information that they put into their
label, which is we don't believe adequate to: begin
with. Unlike in Accutane, where Your Honor ruled that
the warning system was very extensive, here we're going
probably be able to demonstrate to Your Honor, iff we
find what we think we're going to find and if our
investigation bears out, they had a system of
suppression of the science and medical information
about their products.

So, for example, IT have clients signing up
with me now, they found out about the problem a week or
two ago in a conversation, or jumping on the internet
and said, I didn't even know this. I had to take a new
drug. I got switched off by my insurance. My problems
went away, I never even made the connection until Tf saw
something on the internet. So it's not that simple

because doctors didn't know to diagnose. They didn't

 

know to do pathology. They didn't know to take

 

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biopsies. They didn't know this even existed. There
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was a couple of articles in the literature that most

doctors would never have seen. And you'll learn about
that a lot this afternoon. So it's a more complex
process.

The idea that they want this quick siip
sheet in the beginning of the case, we actually argued
this issue in Anzalone, and Your Honor agreed, you're
going to get the responses to the interrogatories, all.
the information 18 going to be there in the ordinary
course, and that's how we think it should be done.
There shouldn't be staged discovery responses. There
should be a fact sheet, and if there were
interrogatories already answered, they have the
information. If they think there's a deficiency, they
can raise it.

THE COURT: Well, there's merit to what
both of you say, but I'm still of the opinion that some
of the things that Ms. Sharko is asking for are things
that snould be in your file.

MR. SLATER: Well, some of it --

THE COURT: They should exist. Right?

MR. SLATER: Your Honor, we have to get all
the medical records. You file a case, sometimes
there's a statute of limitations coming up potentially.

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THE COURT: You give her ali the names of
the physicians, you give her medical authorizations.

MR. SLATER: And she's getting all that.

She gets that when we answer interrogatories. They get
everything in the ordinary course. If there's a fact
Sheet, they'li get it with the fact sheet. ‘The

idea that we should have to make --

And Judge Kugler, by the way, disagreed
with this as well. She asked for staged responses, and
his response was, let's do it once. So -- and I'm sure
you can speak with him, obviously there's a transcript.
We're happy to give all this information one time in an
ordinarily fashion en masse,.the way it's done in every
litigation, as opposed to Ms. Sharko cherry picking a
few bits of information and trying to define what she
wants.

THE COURT: IT wouldn't characterize it as
cherry picking. I think what she's saying is these are
the fundamentals and we need to have them.

But you know what? You're going to get it.
You're going to get all this information or their
claims will get dismissed. It's just that simple. And
so I think once we have the fact sheet agreed upon,
we'll agree upon a reasonable time for them to file

fully responsive answers to the fact sheets, and that

 

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will be it. And if they can't, because they don't have
a prescription, then those cases are going to go away
quick.

MS. SHARKO: So IT agree that this
information will be in the fact sheet, or should be in
the fact sheet, but the problem is that we've served
discovery in all these cases. We have 36 plaintiffs
who have had discovery requests pending.

THE COURT: Outstanding and remain
outstanding?

MS. SHARKO: And remain outstanding. And
now what the plaintiffs want to do is stop
case-specific discovery. So all I'm saying is --

THE COURT: Here's the flip side of that.
The flip side of that is they’ve got 23 they're going
to have to go back and duplicate. ‘That's the flip
side. And TI can see that sitting here. You know, my
vantage point sometimes is different. And I'm saying,
you're going to wait a little bit longer for 36 and
they're going to have to duplicate 23. In terms of,
you know, how the scales balance, they're in equipoise.
You're each one inconvenienced equally. So it's Just
that simple.

So when the fact sheet is prepared, we'll

talk about a reasonable amount of time in which

 

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plaintiffs will nave to furnish you with everything
Lhat's listed on the fact sheet. But in the meantime,
you'il have to be patient a little bit longer.

MS. SHARKO: Could we have authorizations
at least in the pending cases while the fact sheet is
negotiated?

MR. SLATER: They have them.

THE COURT: I admire your persistence. I
admire it. I really do. The answer is no. We'll wait
and do everything once with the fact sheet.

Okay.

MS. KESSLER: Thank you, Your Honor. Just
two more issues. I['m sure you're about to turn to the
FOTA documents.

The first is that with the medical
authorizations that we've been giving the defendants --

THE COURT: You've given 23 so far?

MS. KESSLER: I thank -- I don't know how
many I've given.

THE COURT: All right. Hold on. She's
being persistent and I admire that, and if we can
handle it, is there any reason you can't give medical
authorizations on the rest right away?

MS. KESSLER: Well, I mean, some of them

aren't even due yet.

 

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But the point that I was making is that the
medical authorizations that we have supplied, they're
clearly getting records, they're gathering records.
And we've also signed facility-specific authorizations
where they don't accept the general authorization, so fi
know that they're getting this information. They have
not produced any of the records that they are receiving
on our plaintiffs.

THE COURT: I don’t have any doubt that
they will.

MS. KESSLER: Well, prior --

THE COURT: Maybe they’re waiting until
they get a certain bundle, of a certain number.

MS. SHARKO: So here --

MS. KESSLER: It's part of our problem,
Your Honor, that we believe that this should be on a
rolling basis --

THE COURT: You can't both talk at the same
time. It's hard for her and hard for me.

MS. KESSLER: Well, that this information

1S being -~ that as this information comes into the
defendants -- again, it's usually something that’s
agreed Lo in the ordinary course. We just ask Your

Honor that it's something that I guess we will meet and

 

confer about this, too, and have -~- make sure that

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we're receiving all the information that they're
receiving on our plaintiffs as well, because these
authorizations don't have the limitations as to the
time period that we just discussed today.

MS. SHARKO: So this is a good example of
why we have the rules of court. Ms. Kessler never,
ever asked for a copy of a single medical record until
she filed her cross-motion.

MS. KESSLER: That's not true.

MS. SHARKO: As she pulled up --

THE COURT: So you can really -- TIT really
don't like you interrupting her when she's talking.
And she interrupts you too. You both need to stop it.

MS. SHARKO: Had Ms. Kessler called or
asked, and now that she has, we will supply her with
copies of the medical records we get as we get them,
pursuant to the Vasquez case where they snare in the
cost of whatever we paid --

THE COURT: TT saw that in your response,
and fT think that’s how it should be done.

MS. SHARKO: ‘That's how it’s always done
here. I've never had an issue with that. So I was
kind of surprised that [I didn't get a phone call, I got
a motion, but that’s not an issue for the Court.

MS. KESSLER: Ff Just want to correct for

 

 

 

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Ene record, I did ask for that information ina letter
in late January.

THE COURT: Well, she's telling you she's
going to provide it, you're going to share in the cost
and you'll be receiving the information.

MR. SLATER: I'm sorry, Your Honor, I just
want to make sure that something is clear in the
record.

If Ms. Sharko is asking that she goes out
and gets the plaintiffs' medical records, which I
believe that she's obligated to then give to us, she's
now saying she wants us to share in her cost of
obtaining the records? Because I know we've been
obtaining our clients" medical records and serving them
ain the ordinary course. And I've never had a
Litigation -~ Ms. Sharko says it's ordinary? TI have
never had the defendant charge me in the state of New
Jersey, where I’ve practiced law almost exclusively for
almost 25 years, try to charge me for medical records

they obtained for my clients with my medical

authorizations. They always produced the records that
they obtain, and we produce the records we obtain. And
I do not want the record to leave -- be left that all

the attorneys in the litigation --

THE COURT: Well, IT appreciate you doing

 

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this, because, candidly, it's never become an issue for
me before because lawyers have agreed. And what
lawyers agree to, I don't tamper with, unless somehow
it's violating public policy, but...

Ms. Sharko, you've got the floor.

MS. SHARKO: So in every litigation I've
ever been involved in, and I guess I've never had the
pleasure of being in litigation with Mr. Slater
before --

THE COURT: You were in a different
universe, but now you're in the same universe.

MS. SHARKO: Usually we use a medical
records provider, and we'll probably have to switch to
that here.

THE COURT: Correct. I've seen that done
before, Mr. Slater.

MR. SLATER: I'm not talking about that.
That's fine. And we're going to do that in the MDL.
There's going to be a medical records company that's
going to obtain records. But prior to the institution
of that, we're serving records, they're serving
records. Once we agree on a vendor, then the parties
share, because the vendor goes out and gets the
records. That's -~ [I'm not disagreeing with that. We

weren't talking about that.

 

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THE COURT: Well, that's what I assumed was
going on.

MR. SLATER: It never happened here. We
should confer about it.

MS. SHARKO: Il'm not -- I wasn't finished
talking, but I'm happy to talk to the plaintiffs
privately and try and work this out.

THE COURT: This shouldn't be hard.

MS. SHARKO: Right.

THE COURT: This should be easy. And T
thought what was happening ~- and ['m assuming things,
and it's wrong to do that. I thought what we were
talking about was a vendor that when you use, pay the
one half. When I read that, I said to myself, well,
she's got a vendor who is going to secure the records,
and when the documents come in, they split the cost.

MS. SHARKO: Right. That's how it usually
works.

THE COURT: That's how it usually works.

MS. SHARKO: Okay. We will talk.

MR. SLATER: We'll talk to them about it.
That's wasn't what I thought we were talking about
here.

THE COURT: All right.

MS. KESSLER: The other issue I had, Your

 

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Honor, and this was brought up in my papers, is that
when the defendants filed these motions, we now have
very personal information about tne plaintiffs that not
only violated the court rules, because there's personal
confidential identifiers included in these filings --

THE COURT: You know, I understand that.
But IT -- Look, =I know a lot of paperwork 1s going to go
back and forth between the two of you. And I don't
know that they violated the protective order unless you
tell them that this is protected information. And I.
don't think you did that. So, I mean, what I don't
want to do is make a huge issue over something that may
have been an inadvertency on both sides and can
probably be remedied quickly.

IT haven't been in this situation before.
What's the logistics? If there are documents, you go
down to the clerk's office, say, give them back, I'm
going to exchange something? I mean, because it sounds
to me like we're making a bigger problem out of this
than it is. And I'm not accusing anybody of doing
that. I'm simply -- I don't want to make a bigger
problem out of it than it is because who's going to

come in and look?

MS. KESSLER: Your Honor, I understand what

 

you're saying about the protective order, but that's

 

 

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separate. This also includes -- and, I mean, I am
genuinely concerned about identify theft of these
plaintiffs, because it has their insurance policy
numbers filed. Tt has, for Shelly Rahman, a whole page
of her psychiatric information now filed with the
clerk's office.

THE COURT: Well, IT would prefer that not
be filed.

MS. KESSLER: And that was the whole
purpose that we were here last fall is to talk about
the admitted protective order. It works both ways,
Your Honor. Our information should also be protected.

THE COURT: Well, I don't disagree with
you. But I also know that it's rare ~-- but we have to
protect against the rare too. It's rare that anybody

comes in and they want to look at, you know, a pleading

filed in connection with a discovery motion. They come
in and want to Look at Complaints. They come in
sometimes and want to see briefs. They come in and
they want to look at certifications. But do they look

at these types of pleadings? No.

MS. KESSLER: But, Your Honor, they do,
because other plaintiffs' counsel around the country
are litigating these cases, too. I know that runners

have been here getting these filings, our motions to

 

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compel for --

THE COURT: Well, you know more than T do.
And I'm not being facetious. You're enlightening me.
Tt's interesting.

MS. KESSLER: Tt happened, Your Honor.

And ~-

THE COURT: Ms. Sharko?

MS. SHARKO: Yes. If only Ms. Kessler
would call and try to work these things out instead of
coming down here and trying to cast blame on everybody.

The discovery motions were filed. The
information that was attached was never designated as
protected.

THE COURT: Well, see, I don't think it
was. That's part of it.

MS. SHARKO: That's part of it.

The second part of it is, the rules specify
wnat is personal identifying information. That was not
in the motion papers.

All that said, if Ms. Kessler wants that
information removed from the filings, or she wants to
substitute a redacted version, so what's in the clerk's
office is more satisfactory to her, I don't care.

THE COURT: IT would prefer --

 

MS. SHARKO: That's fine.

 

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THE COURT: —-- that be done.
MS. SHARKO: sure.
THE COURT: And how it gets done doesn't
interest me, but I would prefer thal it be done. She's

telling me that it's possible that people from Law

firms send -- I['il use a better word, "investigators,"

to look at certain documents. And {t would prefer that

anything that appears to be confidential information
not be available for those investigators to peruse.

MS. SHARKO: Sure. That's fine.

THE COURT: We're all in agreement on that.

MS. SHARKO: We are. And all she needs
do is give us, or give the clerk's office what she
wants to substitute, let us see it and then they'll
take care of it.

MS. KESSLER: T don't --

THE COURT: I think the best way to
coordinate this, because [I don't think we're talking
about a big volume of information, are we?

MS. KESSLER: It's the six motions that
Christy Brooks’ motion where they attached medical
records.

THE COURT: Total number of pages, what
we talking about?

MS. KESSLER: It's probably 300 pages.

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THE COURT: Oh, you think that many?

MS. KESSLER: Well, with these motion
papers, with these six motions, along with Christy
Brooks -- where they attached the medical records of
Christy Brooks, which they try to characterize as --

THE COURT: My thought is, there ought to
be a way, maybe starting with an e-mail copied to one
another and then a conference call, there should be a
way that you can resolve this with Trish Allegretto and
her staff.

MS. KESSLER: Absolutely, Your Honor. TI
think that the defendants should be the ones that
initiate that, because they're their motions that were
filed. I'm not sure if I can change what they have
filed with the clerk's office. So we can talk
procedurally how to do it.

THE COURT: Yeah, but hold on. You're the
one who's got the beef, so to speak, with the problem.
I would want you involved, if not supervising, if not
doing the substitution to eliminate the complaint.

MS. KESSLER: To the extent --

THE COURT: The beef. You know, I don't
mean the pleadings. tliminate the problem that you
perceive. And I respect it.

MS. KESSLER: But to be the fair, IE wasn't

 

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the one that violated the court rules.

THE COURT: Yeah, but T don't have any --
look, there are -- inadvertencies occur. And I'm not
here to talk about anybody whose conduct is improper,
because I think everyone is being advocates, and that's
what you're supposed to be.

But you can pinpoint the items that you
find to be a problem more readily than anybody. And I
would prefer that you do that with Ms. Allegretto,
keeping Ms. Sharko informed of what you're doing, and
let's just tend to the logistics of the problem as
quickly as possible. And I think you're the one who
can expedite it more quickly than anybody.

MS. KESSLER: Yes, Your Honor. So just to
clarify that some of these medical records and these
responses were served before the protective order, and
so they aren't marked as protected.

THE COURT: The simplest way might be just
pull those pages, period.

MS. KESSLER: Exactly.

THE COURT: If we have an incomplete filing
at the end of the day, we all know what the
incompletion is about.

MS. KESSLER: Right. And T would like

those records to be --

 

 

 

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MS. SHARKO: And --

THE COURT: If it becomes the supject of an
appeal, then you suoplement.

MS. SHARKO: I have no objection to that.

MS. KESSLER: And I would Like Ms. Sharko
to accept that this information is confidential, that I
do not need to go back through these productions and
produce pages where I mark them as protected, that it
is clear from the amended protective order that medical
records with this information is protected and within
the purview of it.

THE COURT: Well, I think going forward
we're all in agreement on that, are we not?

MS. SHARKO: That all --

THE COURT: Well, any medical or
psychiatric records, they shouldn't be filed in
courthouses.

MS. SHARKO: If Ms. Kessler is now orally
designating all the medical records as subject to the
protective order, so be it.

MS. KESSLER: And interrogatory responses.

THE COURT: Okay. But in terms of cleaning
the record by, you know, expurgating or redacting,
whatever term you wanl to use, those pages, I'm going

to rely upon you to work with Ms. Allegretto and get

 

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that done. .

MS. KESSLER: Yes, Sir.

THE COURT: Okay. What else on discovery?

MS. SHARKO: I want to make sure I just
heard what counsel said.

So all interrogatory answers are now
subject to the protective order for both sides, in
addition to medical records and psychiatric records? TI
just want to make sure I know what the ground rules
are.

MS. KESSLER: I would say as the amended
protective order specifies, that this includes all
personal information, medical information as to the
plaintiffs --

THE COURT: Well, we know it includes
Social Security, we know it includes medical records,
we know it includes Social Security, psychological,
psychiatric. What else?

MS. KESSLER: So that would include
potentially document requests as well, that information
that we're attaching to document requests. So it's
potentially all discovery responses that have been
served, including medical records, that contain the
information that's defined as protected in the amended

protective order.

 

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MS. SHARKO: I would just ask, designaling
something under the protective order is significant,
and we need to make sure everybody --

THE COURT: It's not insignificant, you're

correct.

MS. SHARKO: And so rather than have Ms.
Kessler stand up and say on the record, and IT want this
and I want this and it's somewhat vague, she should --

THE COURT: Yeah, you're going to do a
letter to Ms. Sharko.

MS. KESSLER: Okay. Thank you, Your Honor.

THIS COURT: So we don't have any
misunderstandings in the future.

MS. SHARKO: Okay. The cases that have
discovery end dates that are coming up, could they be
suspended or readjusted for this?

THE COURT: I think we need to suspend them
and create a new discovery end date once we have the
agreed-upon fact sheets. TI think that's the most
practical way to proceed. Otherwise, you know, we're
going to be having more dates expiring.

MS. KESSLER: The only issue with that,
Your Honor, is that two of them are expiring in June
and then a few more are expiring in July. So it's

something that we should think about addressing

 

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separately.

Part of this was when the cases were
consolidated. Right now there's currentiy 12 cases
that were consolidated by Judge Mendez here in Atlantic
County. And normaliy when there's a consolidation,
they take the last discovery end date and it applies to
the entire set of cases. I'm not sure why it didn't
happen here, but I think that's the easiest solution.
And we can send you a joint consent order on that.

THE COURT: Io was going to say, I'm content
with zeroing in on those cases that have you concerned,
agreeing upon a date somewhere in the future, and
that's fine by me. Because once we have the fact
sheets, that's going to expedite everything.

MS. KESSLER: So we will send that back to
you within the next week.

THRE COURT: All right. So you'll submit a
consent order?

MS. KESSLER: Yes.

THE COURT: Okay...

MS. SHARKO: Meanwhile the dates are
suspended in all the cases?

THR COURT: Can't hear you.

MS. SHARKO: ‘Ihe dates for -- the discovery

end dates are suspended?

 

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THE COURT: Yes.
MS. SHARKO: Okay, thank you.
IT believe we're up to item -~ T guess we
have the MDL status report, which T can give you, if

you'd like that, the docket report. And then the
Hudson County cases that are now being filed.
THE COURT: Well, why don't we do that

after we finish the one issue on the motions that we

have.

MS. SHARKO: Okay.

THE COURT: Isn't that where we are?

MS. SHARKO: That's true. 1 forgot about
that

THE COURT: Who wants to start? The person

who is looking for the protective order or the person

who -- well, you know, we'll start with the person

looking for the protective order, because you have the
burden of proof.

MS. KESSLER: Your Honor, I know that we
had several -- we had two conference calls on this
earlier in the year. T think you know our position. TI
think we set it out very clearly in our papers that
there is this case directly on point where one side
tried to receive FOTIA documents that were requested,

and the Court said that clearly this is work product

 

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and that it reflects a grouping of what the parties’
mental impressions and opinions as to what's important
in the case and that this really goes towards legal
theory, not towards factual. Because as far as the
factual information is concerned, the defendants
already have these documents. They already know the
factual information. It's already given to them.

I don't think it's all been produced to me
yet, but that's a separate issue. So what they're
really seeking here and why they have zeroed in on
these documents is to why they think that is relevant,
you know, I'm not really sure I understand if there's
any relevancy other than it gives my opinions and
thoughts as to what documents are important to receive
from the FDA.

And so I really do believe that these are
work product and that it falls within the doctrine,
which means that the defendants need to be able to
prove that there's a substantial need under the court
rules for why they need these documents. And they
clearly aren't able to reach that because, one, they
can make their own FOIA requests. They can take my
request and make it themselves to the FDA and get the
same documents if they want. And, two, they already

have these documents anyway. So I don't think they're

 

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able to prove their burden as to what substantial need
there is in these documents.

THE COURT: Mr. Carroll?

MR. CARROLI: Good morning, Your Honor.

On November 6, 2013, Ms. Kessler sent a
Freedom of Information request to the FDA. She gave
that to us, to both of us, in October 2014. She
submitted that with a reply brief on the motion to
compel.

T don't agree that the Rhone-Poulenc case,
which is a 1991 Eastern District of Pennsylvania
unreported decision by the magistrate judge, is good
law. I don't agree that that case applies here.

Assume for the sake of argument that it
does. That case says the grouping of the request is
work product. That's what it says right in the last
page of the opinion. That's the phrase it uses,
"grouping."

I have the grouping. Got it back in
October 2014. Don't need anything else other than the
documents.

When we were on phone with Your Honor back
in December, you said this wasn't necessary for formal
motion. You warned Ms. Kessler that no one would ever

come into your courtroom for a trial and be surprised

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by documents.

THE COURT: Nobody is going to be surprised
if IT can help it.

MR. CARROLL: TI remembered that statement,
Your Honor. You didn't want Ms. Kessler to undergo the
expense of copying the document, so you told her to
give us a list. The list was specific. It had to be
enough of a list so that we could go back and identify,
from the millions and millions of pages of documents
that we have, what these were.

The list was not sufficient. After the
insufficient list was served, Ms. Kessler then, on
January 22nd, if I recall, sent you a letter citing the
Rhone-Poulenc case. We're not after work product. To
the degree that work product was involved, it was
provided.

THE COURT: I think everybody is going to
have to enlighten me as to what’ they think work product
is, because I think we have a definition.

MR. CARROLL: Well, again, I don't agree
that the Rhone-Poulenc case applies, I don't agree it's
good law. But if Ms. Kessler wants to ride that
case --

THE COURT: lL'm in agreement with you that

T'm not bound by it. T think Ms. Kessler is in

 

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agreement with that also.

MR. CARROLL: Right. But that's all Ms.
Kessler has argued. Under Rhone-Poulenc, she doesn't
have to produce documents. Rhone-Poulenc's stance for
the proposition that she doesn't have to produce the
grouping of the document request, not the documents.
Those are our documents. The FDA decides what they
want to respond to with Ms. Kessler's letter, and we're
entitled to know what the FDA responded with. That's
all we're asking for.

MR. ‘SLATER: Your Honor, Since this has
wider ramifications, obviously --

THE COURT: Hold on. I don't really know
if I'm going to let both of you argue this.

MR. SLATER: I'm sorry.

THE COURT: You huddle and decide who's
going to argue it. I'm very serious.

MR. SLATER: I understand.

THE COURT: Who's going to argue?

I run into this every now and then in
trials. When somebody starts with an issue, it's
usually their issue.

He made -- so if you're going to argue it,
then she 18 going to stay where she's seated and you're
going to argue it and you're going to respond from here

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on out. If not, then I'm going to deal with Ms.
Kessler.

So what's your choice?

MR. SLATER: No. Understood. It is Ms.
Kessler it was moved against. My only concern was
because they would then try to take this ruling and use
it against other counsel in the litigation, that was my
concern.

THE COURT: Well, look, there is a thing
called law of the case. And it remains discretionary.
But it also, especially when you're in front of the
same judge, it is the law of the case pretty much.

But I think we interrupted Mr. Carroll, so
let him finish.

MR. CARROLL: Thank you, Your Honor.

Turn to the issue of the cross-motion for
protective order. The only thing that would be subject
under Rhone-Poulenc to a protective order is what I
already have. There are other things that Ms. Kessler
claims are privileged, other than the documents which
are defendants' own documents, that at the very least
we get a privilege log. But as to a cross-motion for a
protective order, there's no privilege. We're not
seeking anything that's privileged. And there's no

undue burden, there's no harassment, there's nothing in

 

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the Rule 4:10-3 that plaintiff has satisfied her

burden. It's just not there.

Tt's very simple. We want the documents
that came back from the FDA. That's what we want to
know. End of the argument.

MS. KESSLER: Your Honor --

THE COURT: You have the floor.

MS. KESSLER: -- I think we need to take a

procedural step

back here. That, first, the question

that they're seeking this information

through is one of

these questions that we

1s inappropriate. They'
to these documents that

through this question.

THE COURT:

discussed before that I believe
re saying that they're entitled
we received from the FOIA

It's Request Number 14.

Io need to point out to you, and

T'm going

to use this term throughout,

they're public

records. They're documents,

but they're also public

records. Some documents are corporate documents. Some

documents are personal, confidential documents. These

are public records. So all this stuff that's

downstairs in the clerk's office, public records.

MS. KESSLER: Uh-huh. And, Your Honor,

it's public records with the FDA. That's available,
just as available for the defendants to get as to what

T’ve gotten. But as to what I actually received, I

 

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didn't receive just what was publicly availabie from
the FDA. I made a@ request asking for these large

categories of documents that are very broad that I

don't think Gives any impression as to what I think is
important, but then I had ongoing conversations with
the FDA and their FOIA office.

THE COURT: And I recall you telling me
that in our first phone conversation. It was sort of a
negotiation process.

MS. KESSLER: Uh-huh. Exactly. And that's
where we narrowed it down. And, you know, it was a
conversation where typically, I was told, that the
broad request that I gave to them takes about two years
to respond. And so we had a negotiation ~--

THE COURT: See, ain’t that great?

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MS. KESSLER: -- and a discussion as to,
well, you know, what is it that I'm truly really
seeking on an expedited basis. And that's why I
received documents as quickly as I did.

As to what particular documents I got,
that's a clear grouping. And Rhone-Poulenc, what Mr.
Carroll said, is Rhone~Poulenc says that "requesting
and receiving only certain documents that are available
to the public is a clear group." It's not Just saying

that the grouping itself, the letter that I sent,

 

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that's the grouping. It's what I received that's the
grouping that's protected under the work product
doctrine.

And just procedurally another -- about this
motion is they're also in their proposed order, so this
is not just about the FOTA documents. They move on all
these other requests too. So if we're just narrowly
talking about the FOIA documents, IT think that's one
thing. But, again, it's through these questions that
are truly inapprooriate.

IT mean, Number 14 that they're claiming
entitles them to these documents, I just would like to
read it. "All documents concerning Benicar, Benicar
HCT, Azor and Tribenzor that plaintiff or plaintiff's
agents or attorneys have received from any source."
That's a very problematic question.

THE COURT: A very broad question.

MS. KESSLER: I dontt know if we even need
to get to the point about these FOIA documents.

THE COURT: My focus right now, because
what's before the Court 1S your request for a
protective order on the documents you received on your
FOTA request. So whatever T rule on today is that.

MS. KESSLER: Is just limited to that. [f[

understand.

 

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MR. CARROLL: Well, let's go to tne
response to Number 14.

"Plaintiff£ states she has none in her
possession." We accepted that. We accepted that until
October last year when we got a letter. Ms. Kessler
informed us that she had obtained documents from the
FDA. And don't forget the argument there was that we
didn't need a protective order for anything in the FDA
because she went and got documents from the NDA ~- from
the FDA, excuse me.

What Ms. Kessler is talking about here is
not her thought process, it's what the FDA decided to
give her in response to this letter. We're entitled to

know that. What the FDA did is not work product. What

the FDA gave her is not work product. We're entitled
to have it. You said we should have it back in
December.

THE COURT: And we need to talk about --
and I'll let Ms. Kessler start. We need to talk about

how do we define work product.

MS. KESSLER: FI think Hickman Taylor is,
you know, the best place to start, with the Supreme
Court that said that the lawyers need to be free from
unnecessary intrusion by opposing parties and counsel,

that we --

 

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THE COURT: That's not a definition, that's
a statement of a perspective. What's the definition of
work product? Because tt's readily available, the
definition.

MS. KESSLER: 7 think there's two things.
First 1s they have to prove relevancy.

| THE COURT: Again, you're not -- T'm sorry.
You're not -~- relevancy is not a definition of work
product.

MS. KESSLER: Well, Rhone-Poulenc, how they
define work product, and how these cases in Jersey also
define work product, it's the thoughts, the opinions,
the investigation and the resourcefulness of the lawyer
involved.

And on top of it, there's another --

THE COURT: You're almost there. You're
almost there to the definition.

MS. KESSLER: There's another limitation as
to what's discoverable in Jersey, and that's factual
information, that discovery is based on what factually
exists. What they're seeking from me has to do with
legal theory. It has to do with my thoughts and
opinions. Making a FOTA request to the FDA, that was
my investigation, my resourcefulness. And it was a

result of me knowing and understanding that it would

 

 

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take me a long time to get these documents from the
defendants, that I want to know before, in anticipation
of filing these claims for my clients, that I would

understand some of the communication that was happening

between the FDA. And what T believe was most important
to pursue these cases. It's truly a thought process.
It's my resourcefulness. TIt's my investigation. And
it should --

THE COURT: No, no, no, no. You're --
it's -- we're focused on public records. And my
question is, what's in those that's work product?

MS. KESSLER: I think it's the documents
that IT received from the FDA is work product because it
includes my thoughts and my mental impressions as to
what's important.

THI COURT: When I Look at Rule 4:10-2(c),
and I don't know this for certain, but I think Judge
Pressler had a whole lot to do with what T think
amounts to a codification, a codification of attorney
work product under New Jersey common law. And how she
defines it, if you look at the last sentence of
subsection c of 4:10-2, "In ordering discovery of such
INaterials when the required showing has been made, the
court shail protect against disclosure the mental

impressions, conclusions, opinions, or legal theories

 

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of an attorney or other representative of a party

concerning the Litigation."

And then -- and | know this is her
language -- when you go to ~~ and I'm a huge admirer of
Judge Pressler. There's some people you wish could

live forever so you can have them around to pick their
brain. And IT got to know her through Judge King,
because Judge King was a friend of my original mentor,
who is still kicking around at 83, practicing law. But
they grew up together in Camden, so I got to know Judge
King through John Berman. And I got to know Judge
Pressler through Judge King.

And when I look at 4.1, note 4.1 of
4:10-2(c), a very simple declaratory statement. "The
fundamental test of applicability of the work product
privilege is whether the material sought to be
discovered were prepared in anticipation of litigation
rather than the ordinary course of business."

That Last phrase we can forget about.

But T'm considering these documents, and
I'm saying to myself, they weren't prepared by a
lawyer. They weren't prepared by a lawyer in
anticipation of a litigation. They weren't prepared by
a lawyer representing the plaintiff. There's my

problem.

 

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MS. KESSLER: I don't think the documents
themselves have to be prepared by a lawyer. I think
it's the grouping of the documents that shows the
mental impression --

THis COURT: Well, that's a novel argument
and that's a novel approacn to the law by the decision
that you're relying upon, but IT don't think there's
anything in New Jersey law that supports this position.

MS. KESSLER: Well, it's the case that they
cite, Dougherty, that they believe supports their
position. The reason why the Court decided that open
court testimony -- that the testimony, the transcript
of what had happened in open court was not work
product, is because they said -- the Court noted that
the hearing transcript was not "a product of counsel's
investigation or resourcefulness," that sending a court
reporter to just transcribe what occurred in open court
does not reflect any mental impressions, it does not
reflect any thought process.

THE COURT: You're asking for specific

documents to be protected and kept from your adversary.

And I sat down the other night, after having reviewed

everything. And let me read for you my list of how I
view this. And you can respond one by one, but tell me

what I got wrong here.

 

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Okay. The contents of these public records
were not created in anticipation of litigation, nor
were they prepared by plaintiffs’ counsel.

MS. KESSLER: But --

THE COURT: Do TIT have that wrong?

MS. KESSLER: ‘The documents themselves, the
documents that the FDA have --

THE COURT: Because I'll recognize some of
those documents could have been prepared by a lawyer,
but they weren't prepared by you.

MS. KESSLER: f agree with that.

THE COURT: And they weren't prepared in
anticipation of litigation. |

MS. KESSLER: But the request that I made,
the fact that a request was even made, that was
prepared by me.

THE COURT: IT know that, but that’s not the
document that you're asking to be protected.

MS. KESSLER: But the document -- by
producing the documents, it does produce my mental.
impressions.

THE COURT: Ah. Let me go through my list,
because I think -- TI think that you think we're a whole
lot brighter than maybe we are. Okay? Because your

implicit -- I think implicit in what you're saying is

 

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an assumption that we can extrapolate backwards from
the results of the selection process to determine the
reason that the record was obtained by you in the first
place. ff don't know if we can.

This is not like case law at all. In case
law, you got the conclusions, you got the reasoning,
you know it's right there, the judge articulated it.
But you're assuming that we're going to be able to read
your mind.

MS. KESSLER: FT don't think I'm assuming
that. I think it's clear that the defendants have what
I requested, which are very broad categories which I do
not think show my process. But either way, that was a
limited waiver for the purpose of the Rahman motion to
compel.

On-top of that, I received a fraction of
what I requested from the FDA.

THE COURT: But you're asking me to stray
from the rule. You're asking me to ignore the
codification that I think Judge Pressler wrote. And
you're asking me to say something new that Tf don't
think has been done in New Jersey law. IT mean, that
rule reads the way it reads for a reason. Mental

impressions, conclusions, opinions or legal theories

 

that were articulated by the party's lawyer. And we

 

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don't have that situation here at all. We really
don't.

This is a novel argument, but T don’t think
it's supported by the rule and I don't think it's
supported by any New Jersey case law.

MS. KESSLER: T think it as, Your Honor.
And I think Rhone-Poulenc defines that for us.

THE COURT: That's not New Jersey case law.

MS. KESSLER: I know it's not New Jersey
case law, but it explains that a grouping means a
thought process, it is a mental impression. And the
grouping of the documents that I received back from the
FDA -~-

THE COURT: So you're asking me to
ignore -- and, see, I don't know if we can do -- if you
can do this both ways.

You're asking me to ignore the contents of
the documents because we agree, they weren't prepared
by you, and they don't contain your opinions or
medical -- mental impressions. But then the flip side
of that is you're asking me to assume that when
somebody reads those documents, then they’re going to
have a window into your mind.

MS. KESSLER: Your Honor, I'm asking that

the defendants need to show that there's a substantial

 

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THE COURT: No, no, no, no. You have the
burden of proof. Case law is real clear.
MS. KESSLER: For the protective —-

THE COURT: On the requesl for a protective

tH

order, you have the burden of proof.

MS. KESSLER: But they also have the burden
of proof on their motion to compel. And if their
question itself is not proper, then whatever flows from
that --

THE COURT: Bn.

MS. KESSLER: But I understand what you're
saying, Your Honor. But at the end of the day, this
information is available to the defendants. Whatever
the FDA has, they also already have. And on top of it,
they can make their own request, their own FOIA
request, and get these documents themselves.

So why are Lhey seeking these documents
from me? How are they relevant, other than to show my
mental process when they already have these documents?

There's no substantial need to produce these documents.

THE COURT: Well, what I -- here's what I
do know. And we're going to let Mr. Carroll speak for
himself. What I do know is there's a lot of documents
here. Okay? And so if they -- you know, sort of like

 

 

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weeding the garden. If they can figure out, you know,
what's real and what isn't, they're going to be further
along tnan they are.

But, Mr. Carroll, why con'k you respond to
that question. Why do you need them other than to have
a window into her brain?

MR. CARROLL: I have the window into her
orain. I got it in October of last year.

I'm entitled to know what documents
involving our products are in the plaintiffs’
possession. When we asked that question, it was after
this request was made. The response wasn't, I have
documents but they're privileged. The response was,
none. That was incorrect then. It's incorrect now.

Rhone-~Poulenc, any way you read it, doesn't
apply here. Ms. Kessler said a few moments ago that
they're on Limited waiver. If Rhone-Poulenc applies,
and I don't agree that it does, this letter waived any
attorney-client work product as to what came back.

Again, what she has isn't a result of what
she asked for. What she has is a result of the FDA's
decision on how to respond to the grouping that she
provided both to the Court and the defendants last

year.

This is work product. Your Honor is

 

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correct. I'm not going to beat a dead horse here. But
Ms. Kessler is asking the Court to depart from the
rule, to depart from New Jersey law, and adopt an
unreported 1991 Eastern District of Pennsylvania case
that's got a lot of red flags on it.

The analysis, 1f£ you accept it for the
purposes of this motion, doesn't apply. Why? We have
the grouping. Why do we have the grouping? It was
given to us. And until we got the grouping, we didn't
know that there had been records received from the FDA.
It's responsive to our Request for Production Number
14. We need to get the documents. We're entitled to
the documents.

MS. KESSLER: Your Honor, if they agree
that it's work product, then we're under Rule 4:10-2,
which, again, they need to show a substantial need.
And under Kinsella, there's three things that the
defendants must to show: One, a legitimate need for
the evidence; its relevance to any issue before the
Court; and, three, lack of availability from any less
intrusive source.

Again, they can make a FOTA request, they
can take my request, my categories and do the same
things and probably receive the documents in a short

period of time also. There's nothing preventing them

 

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from getting these documents.

And, two, they have these documents. Any
communications that they had with the FDA and the
communications that the FDA had with them, they already
have.

So, again, Mr. Carroll is not answering the
question as to why, what substantial need is there to
receive these documents from me, other than the fact
that it does show my mental impressions, my thougnts
and process.

And just to make this point again, the
requested stuff that I made to the FDA, there's no
question that's work product. And anything that flows
from that, anything that I receive from the FDA, all |
falls within the work product doctrine, whether it's
public records or not.

THE COURT: It doesn't fall within the
definition prescribed by Judge Pressler. There's my
problem.

MS. KESSLER: Anything prepared in

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anticipation of litigation that shows the mental
impressions.

THE COURT: Yeah, but these documents
weren't prepared by you in anticipation of litigation.

MS. KESSLER: It absolutely was. ‘The

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request that T made to the FDA --

THE COURT: The documents are public
records. The documents are public records that you got |
from FDA. That's what these documents -- I mean, you
want me to ignore what these documents are?

MS. KESSLER: But how I got the documents
matter, Your Honor. And I got it through a FOIA
request that I made in anticipation of litigation.

THE COURT: I don't -- I honestly don't --
I think, candidly, the issue that you have framed
here -~ and this is -- I am enjoying this. Don't think
I'm not. I think it's an issue of first impression. I
don't think a New Jersey court has ruled on this
question. We're talking public records. We're not
talking about general documents that are in somebody's
possession because of an estate or because of a
business or because of, you know, some sort of
confidential exchange that may have been prepared by a
lawyer or not. We're talking about public records.

MS. KESSLER: All right, Your Honor, then
let me maybe use an analogy, because a lot of the
information that the defendant -- that’s relevant to
this case potentially is also available publicly. You

can Google --

THE COURT: That's true.

 

 

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MS. KESSLER: -~- you can do this. All
this -- just because it's available publicly doesn't
mean that it's suddenly not work product. And the

request that I made to the FOIA, that was clearly in
anticipation of litigation. If don't think that's even
in dispute, the reason why I requested these records.

And so anything that flows from that, the
documents that I received, they're protected under this
dectrine. And it's a very dangerous road to go down,
that if it's not protected, that these sort of requests
as to how I’m compiling information to the defendants,
which aids not only discovery in this case but makes it
more efficient, which is why it was cited in the motion
to compel, because the defendants at that time were
claiming that everything I was seeking was
confidential. And our concern was overdesignation.

And that concern is still there. And that was the
purpose of why we were showing it.

I should be able to have an investigation
completely free of the defendants’ ability to see what
I'm investigating and why it's important. It's my
resourcefulness at the end of the day. And I think
Dougherty supports that when they say that a court
transcript, you know, that's one thing. Sending a

court reporter to transcribe what happens in open

 

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court, that’s not resourcefulness, that's not
investigation. But this negotiation that T had with he
FDA to receive documents that they originally told me
would take two years to gather, that I received on a
very short-term basis, what those documents are, that
is my thought process and that 1s my resourcefulness.

THE COURT: I respect everything you say.

Mr. Carroll?

MR. CARROLL: Correction first, Your Honor,
I am not admitting that this is work product.

THE COURT: I didn’t think you did.

MR. CARROLL: Well, I heard that.

THE COURT: I heard it too, but I don't
think you had it.

MR. CARROLL: Want to make that clear.

We don't want to be surprised. We want to
know what Ms. Kessler got. And we don't know if there
are internal FDA documents that we don't have in there.
We don't know,

Don't forget, in response to the request
for production, all documents regarding Benicar, we
don't have any. It wasn't true then. Tt’s not true
now. We're entitled to the documents.

Thank you, Your Honor.

THE COURT: Okay.

 

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Ms. Kessler?

MS. KESSLER: Your Honor, so Mr. Carroll
has not answered the question as to why they need these
documents from me. They can make a FOIA request. -They
can get these documents. If they're concerned that in
their own defendant and their own client records that
they don't have complete internal documents, then make
a FOLA request. There's nothing that's stopping them.
lo am fane with them taking my letter and making a
request. That's fine. I will even pay the cost of
that or split the cost with them. It's about $120, and
it takes about a couple weeks.

You know, it's not -- but this grouping,
these documents that I received after negotiating with
the FDA, they are work product. And I think we need to

go back and that, on their motion to compel, that the

very problematic and inappropriate question. And
that's their only basis for saying that they're
entitled to this information.
So if the question itself falls, you know,
Lhis whole argument that flows from it also falls.
Thank you.

MR. CARROLL: These are documents that

Were 7-7

 

 

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TH COURT: Do you think there's a chance
you really don't have any of these documents somewhere?

MR. CARROLL: IT don't know. Yes, there is
a chance. I simply don't know.

These are not attorney work product
documents. They weren't created by an attorney. And
this 1s a point you made back in December or January.
They weren't created by an attorney. They're not
attorney work product.

THE COURT: Well, some of them may have
been created by some attorney somewhere.

MR. CARROLL: Not the attorney who's trying
to claim work product, Your Honor.

THE COURT: Okay. Go ahead. I'm not
cutting you off.

MS. KESSLER: One more analogy would be,
there's a lot of information public about our
plaintiffs also. You know, I'm sure they're Googling,
I'm sure they're mining this information.

THE COURT: Boy, what a world we're living
in now. Right? The things that I see litigants put on
their Facebook pages? Wow. Talk about fools.

MS. KESSLER: Well, that's scary.

THE COURT: I see it all the time. And

read the contract with Facebook. You have no

 

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expectation of privacy.

MS. KESSLER: Are we then also entitled to

their investigation that they're having -- undergoing?
T'm sure they're doing background checks. I'm sure
they're mining social media information. You know,
they're Fully investigating our clients too. Are we

entitled to that investigation that they're doing also?
You know --

THE COURT: Well, the answer is, you may be
entitled to it at some point if they decide they're
going to rely upon it. I don't know -- we're -- you
and T are, for purposes of this dialogue, assuming that
they did something like that. I don't know if they did
or they didn't. And if they did and they're going to
rely up on it, we'll all know about it because there
won't be any secrets.

MS. KESSLER: Your Honor, T never said T'm
relying on this information. I need to have the
documents authenticated by the defendants. They need
to come from the defendants.

THE COURT: Okay. Anything else?

MR. CARROLL: Nothing further, Your Honor.

THE COURT: Okay. All right. I will have
my ruling on the protective order soon. I do not
procrastinate. There's a couple other things that I

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want to look at, but T'll do my best to get it done
very quickly.

Now, anything else we need to resolve
before we break? Because I think you have IT people
that need to speak with our IT people and get you set
up.

Who's going to go first on the Science Day?

MS. SHARKO: Oh.

THE COURT: Did you agree on that?

MS. SHARKO: No. I submitted to the
plaintiff a day or two ago that T should go first since
at's our product. They told me like at 7:00 last night
they disagreed, so --

THE COURT: Flip a coin.

MS. SHARKO: I think it's for Your Honor to
choose.

THE COURT: Flip a coin. Does anybody have

a coin? I have a couple mints, which I should probably

hold on.

MR. CARROLL: I've got a coin.

THE COURT: You two flip a coin. It
doesn't matter to me who goes first. I thought maybe

you had agreed on that.
MR. CARROLL: What's your call?

MR. SLATER: Oh. Let me see that coin.

 

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I'li tet him fiip it and T'lt let Ms.
Sharko call it.

THE COURT: You going to call it?

MS. SHARKO: Heads.

THE COURT: Let it drop on the floor.

What is it?

MR. CARROLL: Heads, Your Honor.

THE COURT: Okay. So your choice.

MS. SHARKO: I'd Like to go first.

THE COURT: Okay.

MR. SLATER: You'll receive, okay.

THE COURT: Okay. Each side has an nour.
And we'll take whatever break makes sense in between
the two presentations, 10 minutes, 15 minutes.

MR. SLATER: There are a couple other
issues that I would like to address for the case
management conference, but I don't want to usurp on the
Science Day. We're good for this afternoon then?

THE COURT: Yep.

MR. SLATER: Okay. Your Honor, just for
the record, Ms. Sharko had mentioned something about an
agreement we reached in Anzalone. I think we should at
Least have it on the record. One of my cases is the
Anzalone case.

MS. SHARKO: Do you want to put the whole

 

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agreement on the record?
MR. SLATER: No. Just the admissions.
MS. SHARKO: Tt's everything or nothing.
MR. SLATER: I don’t understand that.
We're going to talk. We'll talk to you in the
afternoon about that. JT just got confused by

something.

The other thing is, there are other aspects
of discovery.

THE COURT: I'm hoping we're going to talk
about some sort of schedule for depositions of fact
witnesses starting with the plaintiffs.

MR. SLATER: A1L right. I think that that
should probably be part of the meet and confer process
in the next few weeks.

THE COURT: I'm okay with that too.

MR. SLATER: Okay. And I think we're
agreeable to that. We'll figure out what makes sense
to stagger them in a reasonable way.

There are various categories of discovery
that earlier counsel had said, you know, nobody has
asked for anything else since they started to produce.
We've actually been having an ongoing meet and confer
process in earnest. It went from January to about

March. And there's various aspects of information that

 

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tne defense has assured us you're going to get this,
you're going to get this; however, a lot of it has not
been produced. And T would think that Just by having
an open discussion real quickly, I think we can
probably get assurances and get some deadlines, because
a lot of it is foundational. For example --

MS. SHARKO: Can I suggest we have a meet
and confer? T have no idea --
MR. SLATER: We've done it for five months.

That's the problem. That's why I'm here to raise it

now.

MS. SHARKO: I have no ideas what issues
Mr. Slater is going to raise. I think we should talk
about it.

THE COURT: All right. Here. My notes say
that you're going to each be furnishing additional
discovery to the other by June 26th and that prior to
that date you're going to meet and confer. So what
happens on the 26th is that you give each other
everything you think the other one is entitled to.

And ~T think rather than any sort of
telephone conference call, that we'll meet, you know,
the Court with the two litigants will meet and confer
in July, and we can nave an on-the-record management

conference in our conference room. I'il pick a date in

 

 

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July. This is May, so I hope whatever date T pick will

give you enough. notice.

And whatever issues are outstanding then,

we'll try to reasonably get to a solution. And then

enter an order that will address all the issues that

you've agreed to and all the issues that you've forced

me to make a decision upon because you couldn't agree

Lo.

How does that work?

MR. SLATER: That's fine.

MS. SHARKO: That's fine.

MR. SLATER: And many of

probably be resolved before that.

these will

THE COURT: It will be early July. You

know, it won't be -- you're going to get everything you

want done on your end by June 26th,

and sometime

probably within the first 14 days or earlier in July,

we'll meet. It will be sometime within the first two

weeks.

MR. SLATER: That's fine.

THE COURT: Does that make sense?

MR. SLATER: You said it. It makes sense.

THE COURT: Okay.

MS. SHARKO: The only remaining issue then

is Ms. Kessler, who is the person who brought us here

 

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to Atlantic County, has started to file cases in oLlher
courts around the state for out-of-state plaintiffs.

Our view is those cases should be --

THE COURT: I can't stop her from doing
anything. You know what? TI haven't -- you sent me an
order, and Paragraph 17 said that the -- do I have this

confused with another one?

MS. SHARKO: This is -- that's an issue
in --

THE COURT: Because it's you popping up
again.

I can't ~- you know, until there's an MCL,
because, you know, in New Jersey we call it MCL. Until

there's an MCL designation, she is free to file
wherever she wants. You know, Judge Mendez had that
conversation with -- who was it, Ms. Allegretto? Was
it Mr. Wolf?

MS. SHARKO: Judge Martinotti?

THE COURT: Yes, Mr. Wolf.

MS. SHARKO: Okay.

THE COURT: And the judiciary'’s attitude is
until there is an MCL designation or until the parties
agree otherwise, then somebody can make a motion or --
you know, I'm going to take -- we're talking about Talc

now for a moment.

 

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I'm going to take your Paragraph 1/ in that
order, and I'm basicaily going to say that, you know,
either party is free to make whatever motion they want.

MS. SHARKO: Okay. That's fine. Phat was
the only disputed paragraph in that order.

THE COURT: Yeah. I was going to say.

And, Dane, do we have that in a Word?

MR. WUITLLERMIN: Yes.

THE COURT: I didn't get a chance to talk
to Sheryl about changing that -- we have it in a Word
document? So I'm going to change that paragraph --

MS. SHARKO: Okay.

THE COURT: -- to say that either party can
file a motion.

But it holds true here. She's going to
file wherever she wants to file.

MS. SHARKO: Okay. Got it. Thanks.

THE COURT: Okay. Anything else?

MS. KESSLER: No, Your Honor.

THE COURT: Okay. Tt's 10 of 12:00. At
1:00 hopefully Judge Kugler, Judge Schneider and Tf
think their law clerks are coming, too, will be here
and we'll met -- be in here and Joe will escort you
back, but be in here a few minutes before 1:00 because

we'll get started as close to 1:00 as we can. And

 

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we'll have our Science Day.
You can leave everything right here.
will be safe.
Let's go off the record.
(Hearing concluded at approximately

11:49 a.m.)

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